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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS


 Rita Bowers, Michele Gear-Cole, Florence
 Lorenzano, and Reginald Tercy, as
 representatives of a class of similarly situated
 persons, and on behalf of the Russelectric Inc.
 Employee Stock Ownership Plan,

                                 Plaintiffs,

           v.                                             Case No.: 1:22-cv-10457-PBS

 John H. Russell, Suzanne E. Russell, and Lisa
 J. Russell, individually and as trustees of the
 Russelectric Stockholder Trusts and the
 Russelectric Stock Proceeds Trusts, as defined
 herein; and Denise D. Wyatt, Dennis J. Long,
 Argent Trust Company, and John and Jane
 Does 1-25,

                                 Defendants.



      DEFENDANT DENNIS J. LONG’S ANSWER AND AFFIRMATIVE DEFENSES
              TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

         Pursuant to Fed. R. Civ. P. 12, Defendant Dennis J. Long (“Mr. Long”), hereby provides

his answer to the Second Amended Complaint filed on July 8, 2024 by Plaintiffs Rita Bowers,

Michele Gear-Cole, Florence Lorenzano, and Reginald Tercy (“Plaintiffs”).

         Except as otherwise expressly set forth below, Mr. Long denies each and every allegation

and characterization contained in Plaintiffs’ Second Amended Complaint, including any

allegations contained in the headings, subheadings, and footnotes. Mr. Long expressly reserves the

right to seek to amend or supplement his Answer and Affirmative Defenses as necessary or

appropriate.




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       Mr. Long responds to Plaintiffs’ Second Amended Complaint, on information and belief,

as follows:

                                 NATURE OF THE ACTION

       1.      Plaintiffs Rita Bowers, Michele Gear-Cole, Florence Lorenzano, and Reginald

Tercy (“Plaintiffs”), as representatives of the Class described herein, and on behalf of the

Russelectric Inc. Employee Stock Ownership Plan (the “Plan” or the “ESOP”), bring this action

under the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. § 1001, et

seq. (“ERISA”), against Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell,

individually and as trustees of the Russelectric Stockholder Trusts and the Russelectric Stock

Proceeds Trusts, as defined herein, and Denise D. Wyatt, Dennis J. Long, Argent Trust Company

(“Argent”), and John and Jane Does 1-25 (collectively “Defendants”). As described herein,

Defendants orchestrated the unlawful redemption of Russelectric employees’ retirement benefits

for less than fair market value in violation of ERISA.

       ANSWER:         Mr. Long admits that Plaintiffs have brought an action against him and the

other named Defendants under ERISA but denies any remaining allegations in this paragraph. Mr.

Long also responds that this paragraph states legal conclusions to which no response is required.

                                       INTRODUCTION

       2.      An employee stock ownership plan (or ESOP) is a type of employee benefit plan

through which workers obtain shares of their employer’s stock as a retirement benefit. This case

concerns an ESOP that owned 30% of the shares of Russelectric, Inc., a power systems company

based in Boston, MA.

       ANSWER:         This paragraph states legal conclusions to which no response is required.

To the extent a response is required, Mr. Long admits that an Employee Stock Ownership Plan is



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a type of employee benefit plan, that the Russelectric Inc. Employee Stock Ownership Plan (the

“ESOP”) owned shares of Russelectric Inc. (“Russelectric” or the “Company”), and that

Russelectric designed and manufactured power control systems and equipment. Mr. Long denies

any remaining allegations in this paragraph.

        3.     Russelectric’s founder, Raymond Russell, created the ESOP in 2010 out of

gratitude to his employees, who he believed were “at least 50% responsible for the success of

Russelectric.” While the ESOP remained a going concern, all Russelectric employees were

automatically enrolled in the ESOP to help them save for retirement.

        ANSWER:       Mr. Long admits that the ESOP was established in or around 2010. Mr.

Long also responds that the terms of the Plan speak for themselves. Mr. Long lacks sufficient

information to admit or deny the remaining allegations in this paragraph.

        4.     As relevant here, the shares of Russelectric stock held by the ESOP were divided

into two categories: allocated shares and unallocated shares.

        ANSWER:       Mr. Long responds that the terms of the Plan speak for itself. To the extent

a response is necessary, Mr. Long admits that the Plan identifies both allocated and unallocated

shares but denies any remaining allegations in this paragraph.

        5.     Unallocated shares were shares owned by the ESOP but held in a suspense account.

The reason for this was that the ESOP’s purchase of its 30% stake in Russelectric was financed

with a loan from the company. The unallocated shares were held as the ESOP’s collateral against

that loan.

        ANSWER:       Mr. Long responds that the terms of the Plan and applicable Loan

Agreement speak for themselves. To the extent a response is necessary, Mr. Long admits that

shares of Russelectric served as collateral under the applicable Loan Agreement but denies any



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remaining allegations in this paragraph to the extent they are inconsistent with the Plan and Loan

Agreement. Mr. Long denies any remaining allegations in this paragraph.

       6.      Allocated shares were those shares of the company’s stock released to ESOP

participants every time Russelectric made contributions to the Plan, and the Plan turned around

and paid those contributed funds back to the company to pay down the loan. These contributions

came in the form of either loan payments that the company agreed to fund upon forming the ESOP,

and dividends paid to all shareholders, including the ESOP. Both types of payments constituted

compensation to the company’s employees.

       ANSWER:         Mr. Long responds that the terms of the Plan and other applicable

documents speak for themselves. To the extent a response is required, Mr. Long denies the

allegations in this paragraph to the extent they are inconsistent with the terms of the Plan and other

applicable documents. Mr. Long denies any remaining allegations in this paragraph.

       7.      Each time the company made a payment on the loan, a proportionate number of

unallocated shares were transferred from the ESOP’s suspense account to the accounts of

individual Plan participants, at which point they became allocated shares. The number of shares

allocated to a particular Plan participant was based on that participant’s eligible annual

compensation relative to all employee compensation.

       ANSWER:         Mr. Long responds that the terms of the Plan and other applicable

documents speak for themselves. To the extent a response is required, Mr. Long denies the

allegations in this paragraph to the extent they are inconsistent with the terms of the Plan and other

applicable documents. Mr. Long denies any remaining allegations in this paragraph.

       8.      Russelectric’s employees could only sell the allocated shares in their individual

accounts upon retirement, death, or separation from the company. They could not otherwise buy



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or sell allocated or unallocated shares, nor did they have any other practical means to protect their

interest in the Plan’s assets. Rather, they were forced to rely on the Plan’s trustee (Argent) and the

company’s board of directors to initiate share release transactions and safeguard their nest egg.

       ANSWER:         Mr. Long responds that the terms of the Plan and other applicable

documents speak for themselves. Mr. Long denies the allegations of this paragraph to the extent

they are inconsistent with the Plan and other related documents. Mr. Long also responds that this

paragraph states legal conclusions to which no response is required. Mr. Long denies any

remaining allegations in this paragraph.

       9.      While the ESOP remained in operation, the individual ESOP members’ financial

interests in the ESOP’s assets were limited to the value of the shares allocated to their individual

accounts. But if the ESOP was terminated and its assets were sold, that changed.

       ANSWER:         Mr. Long responds that the terms of the Plan and other applicable

documents speak for themselves. Mr. Long denies the allegations of this paragraph to the extent

they are inconsistent with the Plan and other related documents. Mr. Long denies any remaining

allegations in this paragraph.

       10.     In the event of a Plan termination and sale, the Plan’s governing documents and

ERISA’s statutory scheme granted ESOP participants the full value of the Plan’s assets. ESOP

participants were entitled to more than just payment for their allocated shares. Participants were

entitled to an additional pro-rata distribution of the proceeds of any sale of unallocated shares held

by the Plan, less the Plan’s outstanding loan balance.

       ANSWER:         Mr. Long responds that the terms of the Plan and other applicable

documents speak for themselves. Mr. Long denies the allegations of this paragraph to the extent




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they are inconsistent with the Plan and other related documents. Mr. Long denies any remaining

allegations in this paragraph.

       11.     In 2013, Raymond Russell died. Unfortunately, his heirs resented that he had

created the ESOP and transferred a 30% stake in the company to Russelectric’s employees. Though

the remaining 70% of shares were split between Russell’s children and their mother, after their

mother died in June 2016, the heirs gained sole possession of the controlling stake and immediately

moved to terminate the ESOP and buy back the ESOP’s 30% stake.

       ANSWER:         Mr. Long admits that Raymond Russell died. Mr. Long lacks sufficient

information to admit or deny the remaining allegations in this paragraph.

       12.     This case challenges the value received by the ESOP in the termination transaction

orchestrated by Raymond Russell’s heirs in two ways. First, acting on their own behalf and through

their agents, the Russell heirs illegally used their power over the ESOP to engineer the sale of the

ESOP’s unallocated shares back to the company for far below market value in order to enlarge the

value of their own stakes in the company. The ESOP’s trustee and other Plan fiduciaries were

obligated to stop them but stood idly by and thus are equally liable.

       ANSWER:         Mr. Long admits that Plaintiffs have brought an action against him and the

other named Defendants under ERISA but denies any remaining allegations in this paragraph.

       13.     Had the ESOP received fair market value for its unallocated shares, the proceeds of

their sale would have far exceeded the ESOP’s outstanding loan balance, resulting in higher

payments to the ESOP’s participants. Indeed, by undervaluing the Plan’s unallocated shares in the

sale, Defendants illegally shorted the Plan’s participants between $23 and $40 million in benefits

to which they were entitled. The resulting injury to Plaintiffs was no different than if Defendants

had underpaid the ESOP for participants’ allocated shares.



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       ANSWER:         Mr. Long denies the allegations in this paragraph.

       14.     And there can be little doubt Plaintiffs and other putative class members were

underpaid. A valuation expert retained by certain of the Defendants in this case opined that, as of

December 31, 2009, Russelectric was worth $188.4 million. He further testified that the company

generated its two highest years of revenue in 2011 and 2012 and was trending upward in 2013.

Consistent with this upward trajectory, in September 2018, a mere 22 months after causing the

company to buy out the ESOP’s interest, Raymond Russell’s heirs agreed to sell 100% of the

company’s stock to Siemens for approximately $335, 150, 000 million.

       ANSWER:         Mr. Long denies that Plaintiffs and other putative class members were

underpaid. Mr. Long further responds that the Stock Purchase Agreement with Siemens speaks

for itself. To the extent a response is necessary, Mr. Long denies the allegations in this paragraph

to the extent they are inconsistent with the Stock Purchase Agreement. Mr. Long denies any

remaining allegations in this paragraph.

       15.     In contrast, the consideration they paid for the ESOP’s shares at the midpoint in

between these two valuations in November 2016 reflected a company valuation of only about $70

million. In other words, Raymond Russell’s heirs bought out the ESOP’s interest in Russelectric

for roughly a fifth of the share price they themselves received just two years later. This anomalous

price trend was not the result of a collapse of the company followed by an extraordinary

resurgence; it was the product of intentional manipulation of the company’s valuation for purposes

of shorting employees on retirement benefits to which they were legally entitled.

       ANSWER:         Mr. Long denies the allegations in this paragraph.

       16.     Indeed, Defendants tacitly admitted that the ESOP was underpaid in the deal they

struck for the purchase of its allocated shares. At the time of ESOP termination, Defendants



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amended the Plan documents to state that Plan participants would be made whole for any

difference between the price paid for their allocated shares in 2016 and the share price paid in any

sale of Russelectric within the next three years. In effect, Defendants openly underpaid the ESOP

for these shares up front, allowing the market to establish their true value and dictate the additional

compensation due to Plan participants for their allocated shares. But Defendants included no

similar provision for unallocated shares. They simply underpaid the ESOP for those shares and

left it at that, and in doing so shortchanged Plan participants in violation of ERISA.

       ANSWER:          Mr. Long denies the allegations in this paragraph. To the extent this

paragraph characterizes the terms of the Plan and other applicable documents, those documents

speak for themselves.

       17.     Even then, when the company’s sale to Siemens closed in 2019, the Russell

Defendants and Defendants Long and Wyatt did not keep up their end of this agreement. Though

Siemens bought the company’s stock for a purchase price of approximately $335 million, these

Defendants diverted roughly $65 million of that sum through sham transaction expenses they

improperly deducted in determining the “net purchase price” for purposes of the clawback

provision. These transaction costs were made up of exorbitant bonuses the Russell Defendants

paid to themselves and other Russelectric directors and executives who facilitated this sham,

including Defendant Long.

       ANSWER:          Mr. Long responds that the Stock Purchase Agreement with Siemens

speaks for itself. To the extent a response is necessary, Mr. Long denies the allegations in this

paragraph to the extent they are inconsistent with the Stock Purchase Agreement. Mr. Long denies

any remaining allegations in this paragraph.




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        18.     The 2019 payments to ESOP participants for their allocated shares were thus

calculated as if Siemens had bought Russelectric for only $270 million rather than the actual

purchase price of $335 million. This diverted more than 20% of the amounts owed to the ESOP’s

members in connection with the Siemens sale into the pockets of the Russell Defendants, shorting

the ESOP’s members as much as $7 million in addition to the lost proceeds they should have

received for the Plan’s unallocated shares.

        ANSWER:         Mr. Long denies the allegations in this paragraph.

        19.     Plaintiffs are former participants in the ESOP and current and former employees of

Russelectric who seek to recover these amounts for the Plan and its participants. As ESOP

participants rather than direct investors, Plaintiffs lacked the rights of minority shareholders, such

as the right to inspect books and records. They had no practical ability to stop the sale or mitigate

the harm they suffered. And until recently, they had no knowledge of the illegal terms on which

the ESOP sold its unallocated shares. Nor, for that matter, did they possess knowledge of the

existence of unallocated shares. Instead, consistent with ERISA’s unique statutory scheme,

Plaintiffs relied on Argent, the Plan’s trustee, to protect their interests. In this, Argent failed.

        ANSWER:         Mr. Long admits that Plaintiffs have brought an action against him and the

other name Defendants under ERISA but denies any remaining allegations in this paragraph.

        20.     Plaintiffs therefore bring this putative class action under ERISA to recover the

amounts Defendants owe and for other appropriate relief.

        ANSWER:         Mr. Long admits that Plaintiffs have brought an action against him and the

other name Defendants under ERISA but denies any remaining allegations in this paragraph.

                                          BACKGROUND




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       21.     The Russell family sparred over ownership of its namesake company, Russelectric

Inc., near the end of founder and sole shareholder Raymond Russell’s life. In the fray, the founder

conveyed 30% of his Russelectric stock, through the ESOP, to Russelectric employees as a

retirement benefit. Yet most of the value of that stake was never enjoyed by ESOP participants.

After the founder died, the company, at the direction and for the benefit of the founder’s heirs,

reclaimed the ESOP’s shares for well below market value and terminated the Plan. When the heirs

sold the company to a multinational conglomerate a few years later, the heirs received more than

four times the price paid to redeem the ESOP’s shares.

       ANSWER:        Mr. Long lacks sufficient information to admit or deny the allegations in

this paragraph relating to the Russell family and the formation of the ESOP. Mr. Long denies any

remaining allegations in this paragraph.

       22.     The ESOP redemption terms provided a price adjustment for participants to receive

the higher re-sale price—but only with respect to Russelectric shares that had been allocated to

their individual accounts prior to the Plan’s termination. The rest of the ESOP’s shares— around

two-thirds of the ESOP’s total stake in the company—were held in an unallocated account on the

termination date and received no such consideration.

       ANSWER:        Mr. Long responds that the terms of the Plan and other applicable

documents, including the Redemption Agreement, speak for themselves. Mr. Long denies the

allegations of this paragraph to the extent they are inconsistent with the Plan, the Redemption

Agreement, and other related documents. Mr. Long denies any remaining allegations in this

paragraph.

       23.     This disparate treatment was by design. The Russell heirs resented the ESOP and

the below-market price their father obtained for the stock that he transferred to Russelectric



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workers for their retirements. Although the heirs reluctantly accepted that the ESOP’s individually

allocated shares could only be re-purchased for fair market value, the heirs cynically and

erroneously believed that the unallocated shares could be redeemed at the same discounted price

at which their father transferred the shares to the ESOP. In the end, through the Russell heirs’ effort

and the acquiescence of the non-family Defendants, the heirs’ bid to reclaim the true value of the

unallocated shares for themselves was successful. The heirs would have received at least $125

million for their Russelectric stock regardless, but the heirs received tens of millions more in excess

proceeds due to their redemption of the Plan’s unallocated shares for less than fair value.

       ANSWER:         Mr. Long denies that the Plan received less than fair market value for

Russelectric shares during the 2016 ESOP Redemption. Mr. Long lacks sufficient information to

admit or deny the remaining allegations in this paragraph.

       24.     Defendant Argent, the trustee of the Plan, was responsible for acting on behalf of

participants during the termination and had the power to block the 2016 termination if the terms

did not provide fair market value for all of the Plan’s shares. But rather than insist upon a thorough,

independent valuation of the unallocated shares upon termination (or in the alternative demand a

price adjustment clause similar to that attached to allocated shares), Argent bowed to the Directors’

belief that unallocated shares belonged to the company. Accordingly, Argent acceded to the

Directors’ refusal to redeem unallocated shares on the same terms as allocated shares.

       ANSWER:         Mr. Long admits that Defendant Argent served as the ESOP Trustee and

had discretionary authority to enter into the 2016 ESOP Redemption on behalf of the ESOP. Mr.

Long denies any remaining allegations in this paragraph.

       25.     Defendants’ actions violated ERISA. See 29 U.S.C. § 1108(e) (prohibiting a “sale

by a plan of … employer securities” to the employer or other party-in-interest without “adequate



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consideration”); Howard v. Shay, 100 F.3d 1484, 1488 (9th Cir. 1996) (“[A] fiduciary who engages

in a self-dealing transaction [to purchase company stock from an ESOP] … has the burden of

proving that he fulfilled his duties of care and loyalty and that the ESOP received adequate

consideration.”); Walsh v. Maine Oxy-Acetylene Supply Co., 2021 WL 2535942, at *2 (D. Me.

June 21, 2021) (denying motion to dismiss claim against board members and trustee after company

“bought back the outstanding ESOP shares” for less than the value obtained in another transaction

involving the employer’s stock); Baggett v. Woodbury, 1987 WL 383796, at *12 (N.D. Fla. Jan.

16, 1987) (“[S]tock held in an unallocated … account… is an asset of the ESOP” and may be

redeemed only if “the exchange … is supported by adequate consideration.”), aff'd, 874 F.2d 819

(11th Cir. 1989).

       ANSWER:         Mr. Long responds that the allegations in this paragraph state a legal

conclusion to which no response is required. To the extent a response is required, Mr. Long denies

any allegations in this paragraph.

       26.     While Russelectric’s founder was free to compensate his employees by transferring

his stock to the ESOP at any price (provided that it was no more than market value), the Russell

heirs had no right to engineer the redemption of workers’ retirement benefits for less than fair

market value. See Montgomery v. Aetna Plywood, Inc., 39 F. Supp. 2d 915, 939 (N.D. Ill. 1998)

(finding that founder’s heir and company director that benefited from ESOP redemption was

“clearly liable … for having failed to sell the [ESOP’s] stock [back to the company] for adequate

consideration.”); see also Ordower v. Off. of Thrift Supervision, 999 F.2d 1183, 1186 (7th Cir.

1993) (sale of stock to ESOP at a “discount” and related grant of employee stock options at

“bargain price” was a “form of compensation for services rendered … with the benefit of linking

the employees’ welfare to the success of their firm”). In any case, the heirs had released their



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claims related to the ESOP in prior litigation. Their subsequent extra-judicial seizure of the ESOP’s

true economic value was brazen and unlawful.

       ANSWER:         Mr. Long responds that the allegations in this paragraph state a legal

conclusion to which no response is required. To the extent a response is required, Mr. Long denies

any allegations in this paragraph.

       27.     Defendant John H. Russell, the founder’s son, was beset by conflicts when he acted

as chairman of the company’s board and as the trustee and beneficiary of certain Russell family

trusts that stood to gain from redemption of the ESOP’s unallocated shares for less than fair value.

He is liable as a fiduciary for causing the unfair and self-serving ESOP redemption and as a

knowing beneficiary of it. Defendants Denise D. Wyatt and Dennis J. Long acted (along with

Defendant John H. Russell) as the company’s board. Defendants Wyatt and Long also had divided

loyalties and are liable as fiduciaries for their role in causing the Plan’s termination without

adequate consideration. Defendant Argent was ostensibly the Plan’s independent protector. Yet

Argent went along with Defendants’ lopsided deal in favor of the Russell heirs in violation of its

fiduciary duties under ERISA. Defendants Suzanne E. Russell and Lisa J. Russell, the founder’s

daughters, acted as co-trustees and beneficiaries of certain Russell family trusts that benefited from

the unlawful ESOP redemption and are liable as knowing, gratuitous transferees of the true value

of the ESOP’s unallocated shares.

       ANSWER:         Mr. Long admits that he, along with John Russell and Denise Wyatt, served

on the Company’s board. Mr. Long denies any remaining allegations in this paragraph.

       28.     Plaintiffs are current and former Russelectric employees who had individual

accounts in the ESOP. Under the terms of the ESOP’s agreement with the company, Plaintiffs and

other participants would have received additional benefits from their accounts had the ESOP



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received fair market value for its unallocated shares. Plaintiffs bring this action pursuant to 29

U.S.C. §§ 1104, 1106 & 1132(a)(2)-(3) to remedy Defendants’ unlawful conduct, recover losses

to the Plan, and obtain other appropriate relief as provided by ERISA.

       ANSWER:         Mr. Long admits that Plaintiffs have brought an action against him and the

other named Defendants under ERISA but denies any remaining allegations in this paragraph.

                                 JURISDICTION AND VENUE

       29.     Plaintiffs bring this action pursuant to 29 U.S.C. § 1132, which provides that

participants in an employee benefit plan may pursue a civil action on behalf of the plan to remedy

violations of ERISA and obtain monetary and appropriate equitable relief as set forth in 29 U.S.C.

§ 1109, and to obtain individual benefits.

       ANSWER:         Mr. Long admits that Plaintiffs have brought an action against him and the

other named Defendants under ERISA seeking monetary damages and equitable relief and to

obtain benefits, but denies that Plaintiffs are entitled to any relief and denies any remaining

allegations in this paragraph.

       30.     This case presents a federal question under ERISA, and therefore this Court has

subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 1132(e)(1).

       ANSWER:         Mr. Long responds that the allegations in this paragraph state a legal

conclusion to which no response is required. To the extent a response is required, Mr. Long admits

that Plaintiff purports to bring this action under ERISA and denies any allegations in this

paragraph.

       31.     Venue is proper in this district pursuant to 29 U.S.C. § 1132(e)(2) because the

ESOP was administered in this district.




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       ANSWER:          Mr. Long responds that the allegations in this paragraph state a legal

conclusion to which no response is required. To the extent a response is required, Mr. Long denies

any allegations in this paragraph.

                                     RELEVANT PARTIES

                                        THE COMPANY

       32.     Raymond George Russell founded Russelectric in 1955. The company is based in

Hingham, Massachusetts and manufactures and services power control systems for commercial

facilities worldwide.

       ANSWER:          Mr. Long admits Raymond George Russell founded Russelectric. Mr. Long

further admits that while he served on the Company’s board, the Company was based in Hingham,

Massachusetts and manufactured and serviced power control systems. Mr. Long lacks sufficient

information to admit or deny the remaining allegations in this paragraph.

       33.     Russelectric’s activities and 100% of its stock were long controlled by its founder.

       ANSWER:          Mr. Long lacks sufficient information to admit or deny this allegation.

       34.     In 2008, the founder’s wife, Carol C. Russell, filed a petition for dissolution of

marriage. She testified that “the only reason I filed for divorce from my husband was his insistence

upon establishment of an ESOP.”1

       ANSWER:          Mr. Long lacks sufficient information to admit or deny this allegation.

       35.     In 2010, the divorce still pending, the founder directed the creation of the ESOP

and the sale of 30% of Russelectric’s stock to the ESOP for the benefit of Russelectric employees.




1
 See Russell v. Russell, 50-2008-DR-10468 (Fl. 15th Circ. Ct.) (hereinafter “Divorce Dkt”) No.
2182.

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He did so “[b]ecause [the employees] have been at least 50% responsible for the success of

Russelectric.”2

       ANSWER:           Mr. Long lacks sufficient information to admit or deny this allegation.

       36.        The founder’s wife challenged the ESOP transfer and the underlying valuation of

Russelectric’s stock. She believed that “the stock was massively undervalued” and that the ESOP

was “intended to harm me.”3 Ms. Russell’s valuation expert, Michael Mard, billed at least $2.9

million to perform an exhaustive analysis of Russelectric between 2008 and 2013.4 Mr. Mard

opined that as of December 31, 2009, Russelectric was worth $188,400,000.5 He further testified

that the company generated its two highest years of revenue in 2011 and 2012 and was trending

upward in 2013.6

       ANSWER:           Mr. Long lacks sufficient information to admit or deny this allegation.

       37.        In 2013, the divorce still pending, the founder died.7 The four children of Raymond

Russell and Carol Russell—Defendant John H. Russell, Defendant Suzanne E. Russell, Defendant

Lisa J. Russell, and James R. Russell8—joined their mother to challenge his will.9 The four

children also challenged the terms of a trust designated by the founder to hold his Russelectric




2
  Divorce Dkt No. 1033.
3
  Divorce Dkt Nos. 838 & 2165.
4
  Divorce Dkt No. 2174.
5
  Divorce Dkt No. 2177.
6
  Id.
7
  See In Re Estate of Raymond G. Russell, PR-C-13-122 (Fl. 17th Cir. Ct.) (hereinafter “RGR
Estate Dkt”).
8
  James R. Russell, the younger brother of the Russell Defendants, is not named as a defendant
because he does not appear to have participated in the transactions at issue, and his beneficial share
of Russelectric stock and its proceeds has at all times been controlled by his siblings as trustees.
Plaintiffs seek recovery of excess proceeds acquired and held for the benefit of James R. Russell
from his siblings as trustees.
9
  See Russell et al. v. Defanti, PR-C-13-1998 (Fl. 17th Circ. Ct.) (hereinafter “Will Contest Dkt”).

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stock after his death.10 The primary issue in the probate cases, as in the divorce case, was how to

divide and hold Russelectric’s stock going forward.

       ANSWER:         Mr. Long admits that Raymond Russell died. Mr. Long lacks sufficient

information to admit or deny the remaining allegations in this paragraph.

       38.     The founder’s family and the representatives of the founder’s estate and trust settled

the divorce and probate cases in February 2015. The settlement set forth agreed terms for

ownership and control of Russelectric.11 The founder’s ex-wife and children released their claims

related to the ESOP’s stake in the company. Russelectric’s stock was then split 35% in favor of

the founder’s ex-wife; 35% in favor of the founder’s trust (as modified through the settlement) for

the benefit of the four children; and 30% retained by the ESOP.

       ANSWER:         Mr. Long admits that the divorce and probate cases were settled and

responds that any associated settlement agreements speak for themselves. Mr. Long lacks

sufficient information to admit or deny any remaining allegations in this paragraph.

       39.     The settlement also remade Russelectric’s board of directors. Each shareholder was

entitled to elect one director to Russelectric’s new three-member board, subject to agreed limits.

The founder’s ex-wife could elect anyone and chose Defendant John H. Russell. The founder’s

trust was required to elect, through its corporate trustee Wells Fargo Bank N.A. (“Wells Fargo”),

a Wells Fargo employee and chose Defendant Denise D. Wyatt. Defendant Argent, on behalf of

the ESOP, could elect any person not connected to the divorce and probate cases and chose

Defendant Dennis J. Long, a professional ESOP consultant.




10
   See Russell et al. v. Martin et al., PR-C-13-4784 (Fl. 17th Circ. Ct.) (hereinafter “Trust Contest
Dkt”). For additional details regarding trusts relevant to this case, see infra ¶¶ 79-92.
11
   Divorce Dkt No. 2384.

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       ANSWER:         Mr. Long responds that any settlement agreement speaks for itself. Mr.

Long admits that he was appointed to Russelectric’s board of directors in 2015 and that he served

as an ESOP consultant prior to 2009. Mr. Long lacks sufficient information to admit or deny the

remainder of the allegation.

       40.     The new board could act by majority vote, i.e., two directors. The new board was

seated in April 2015 and remained in place until the Russell family sold the company in 2019.

       ANSWER:         Mr. Long responds that the Company’s governing documents speak for

themselves. Mr. Long admits the allegations to the extent they are consistent with the Company’s

governing documents. Mr. Long denies the allegations to the extent they are inconsistent with the

Company’s governing documents.

       41.     The settlement also created an advisory board to the new board of directors. The

advisory board included the founder’s ex-wife and the four children, plus additional Russell family

members to be invited at the discretion of the board of directors. The purpose of the advisory board

was to allow members of the Russell family to stay informed about the business.

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.

       42.     The settlement also dictated certain personnel and advisor decisions on behalf of

the company and the founder’s trust. The settlement required Russelectric’s corporate counsel to

resign and the founder’s handpicked representatives to abdicate fiduciary positions with respect to

the ESOP and the founder’s trust. The settlement further required Argent to replace its legal

counsel and its agent responsible for working with the ESOP (or be removed as the trustee of the

ESOP altogether).

       ANSWER:         Mr. Long lacks sufficient information to admit or deny any allegations in

this paragraph. Mr. Long also responds that any settlement agreement speaks for itself.



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          43.    In short, in 2015, after Russelectric’s founder died, his ex-wife and children divided

ownership and control of the company and replaced holdovers from the founder’s time in charge.

Russelectric shareholder and board power became vested in the remaining family or persons

approved by the family.

          ANSWER:        Mr. Long lacks sufficient information to admit or deny this allegation.

          44.    On June 18, 2016, the founder’s ex-wife died.          Defendant John H. Russell

controlled her Russelectric stock after her death as the personal representative of her estate and/or

as the trustee of a trust designated to hold her Russelectric stock after her death.12 John H. Russell

and his three siblings were the beneficiaries of their mother’s estate and trust. Her passing therefore

gave the Russell children control of 70% of Russelectric stock, with the Plan controlling the other

30%.

          ANSWER:        Mr. Long admits that Raymond Russell’s ex-wife died. Mr. Long lacks

sufficient information to admit or deny any remaining allegations in this paragraph.

          45.    Effective June 30, 2016, the board terminated the Plan, and subsequently redeemed

the Plan’s shares of the company on November 30, 2016.

          ANSWER:        Mr. Long admits that Russelectric terminated the Plan effective as of June

30, 2016. Mr. Long further admits that Russelectric redeemed shares from the Plan as part of the

2016 ESOP Redemption. Mr. Long denies any remaining allegations in this paragraph.

          46.    The board retired the ESOP’s shares. After the company redeemed and retired the

ESOP’s shares, the four Russell children, through their father’s trust and their mother’s estate or

trust (collectively the “Russelectric Stockholder Trusts”), owned 100% of Russelectric’s

outstanding stock.



12
     See infra ¶¶ 84-88 & n. 44.

                                                  19
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          ANSWER:          Mr. Long responds that the terms of the Redemption Agreement between

the Company and the ESOP speaks for themselves. Mr. Long denies the allegations to the extent

they are inconsistent with the Redemption Agreement and any other applicable documents. Mr.

Long denies any remaining allegations in this paragraph.

          47.    In 2019, the four Russell heirs sold their Russelectric stock, through the

Russelectric Stockholder Trusts, to a multinational manufacturing and energy conglomerate,

Siemens, and directed proceeds of the sale into certain trusts (collectively the “Russelectric Stock

Proceeds Trusts”).13 On January 1, 2020, Russelectric was merged into Siemens, and continues to

operate as Russelectric, a Siemens Business.

          ANSWER:          Mr. Long responds that the sale of Russelectric to Siemens was completed

in 2019. Mr. Long further responds that the terms of the Stock Purchase Agreement and other

related agreements speak for themselves. Mr. Long denies the allegations in this paragraph to the

extent they are inconsistent with the Stock Purchase Agreement and other related agreements. Mr.

Long lacks sufficient information to admit or deny the final sentence of this paragraph and denies

any remaining allegations in this paragraph.

                                              THE PLAN

          48.    The Plan was established by the company, at the direction of the founder, with an

effective date of July 1, 2010.

          ANSWER:          Mr. Long admits that the Plan had an effective date of July 1, 2010, but

lacks sufficient information to admit or deny any remaining allegations in this paragraph.

          49.    Russelectric was the “employer” of the Plan within the meaning of 29 U.S.C. §

1002(5), and the “plan sponsor” of the Plan within the meaning of 29 U.S.C. § 1002(16)(B).



13
     See infra ¶¶ 90-92.

                                                  20
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According to the Plan’s annual reports filed with the Department of Labor, Russelectric was also

the “administrator” of the Plan within the meaning of 29 U.S.C. § 1002(16)(A). In these capacities,

Russelectric was a “party in interest” to the Plan within the meaning of 29 U.S.C. § 1002(14)(A)

& (C).

         ANSWER:      This paragraph states legal conclusions to which no response is required.

To the extent a response is required, Mr. Long denies the allegations in this paragraph.

         50.   The Plan was an “employee pension benefit plan” within the meaning of 29 U.S.C.§

1002(2)(A) and an “employee stock ownership plan” within the meaning of 29 U.S.C. §

1007(d)(6).

         ANSWER:      This paragraph states legal conclusions to which no response is required.

To the extent a response is required, Mr. Long denies the allegations in this paragraph.

         51.   The Plan was designed to invest primarily in “qualifying employer securities,” as

defined in 29 U.S.C. § 1107(d)(7).

         ANSWER:      This paragraph states legal conclusions to which no response is required.

To the extent a response is required, Mr. Long denies the allegations in this paragraph.

                           The Plan’s Acquisition of Russelectric Stock

         52.   On or around October 4, 2010, the Plan acquired 120,000 shares of Russelectric

stock from Russelectric’s founder, representing 30% of Russelectric, for $22.2 million ($185 per

share). The price paid for the shares was based upon a valuation performed by Prairie Capital, the

independent advisor retained by the Plan’s trustee.

         ANSWER:      Mr. Long admits that the ESOP purchased shares of Russelectric in or

around 2010. Mr. Long lacks sufficient information to admit or deny the remaining allegations in




                                                21
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this paragraph. Mr. Long further responds that the Plan and related loan documents speak for

themselves.

         53.    The Plan paid the purchase price through a 20-year note in favor of the company at

4% interest (“ESOP Loan”). Russelectric took out a bank loan to finance the transaction. The

proceeds were then loaned by Russelectric to the Plan in the form of the ESOP Loan.

         ANSWER:       Mr. Long lacks sufficient information to admit or deny this allegation. Mr.

Long further responds that the Plan and related loan documents speak for themselves.

         54.    The sale price was negotiated between Russelectric’s board members and Reliance

Trust Company. Russelectric’s Board of Directors was responsible for hiring the Plan’s trustee

and possessed sole power to terminate the trustee.

         ANSWER:       Mr. Long lacks sufficient information to admit or deny this allegation. Mr.

Long further responds that the Plan documents speak for themselves.

                 The Plan’s Allocation of Russelectric Shares to Plan Participants

         55.    Under the terms of the Plan, every full-time, non-leased employee became a

participant in the Plan on the first January or July after they had completed one year of service

with Russelectric.14 Employees with one or more years of service at the time of Plan’s creation

became participants upon the Plan’s creation. Participation was automatic—employees took no

affirmative action to join the Plan, and were not given the ability to opt out. So long as they

remained employed with Russelectric, participants were not permitted to sell any of their shares.

         ANSWER:       Mr. Long responds that the Plan documents speak for themselves. Mr. Long

denies the allegations to the extent they are inconsistent with the Plan documents. To the extent




14
     Plan Document § 2.1.

                                                22
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any further response is required, Mr. Long lacks sufficient information to admit or deny the

allegations in this paragraph.

       56.     The Plan held two types of Russelectric shares: allocated and unallocated.

Unallocated shares were held in the Plan’s loan suspense account.15 Allocated shares were held in

individual participant accounts.

       ANSWER:          Mr. Long responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long admits that the Plan identifies both

allocated and unallocated shares and denies any remaining allegations in this paragraph.

       57.     The unallocated shares were held in a suspense account and served as collateral for

the ESOP Loan.

       ANSWER:         Mr. Long responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long denies the allegations in this

paragraph to the extent they are inconsistent with the Plan documents. Mr. Long denies any

remaining allegation in this paragraph.

       58.     Every time the Company funded a payment on the Plan’s outstanding loan balance,

Russelectric stock was converted from unallocated shares (in the Plan’s loan suspense account) to

allocated shares (in individual accounts of Plan participants).16 One share was released for every

$260 paid, roughly.17 The released shares were then allocated to Plan participants pro rata based

on the amount of each participant’s eligible annual compensation as a percentage of the total

eligible compensation among all participants.18


15
   Plan Document § 7.2.
16
   Plan Document § 4.3. From the Company’s perspective, the above-discussed annual payments
by the Company to the Plan were then paid back to Russelectric as a principal and interest payment
on the ESOP loan. Id. § 4.2.
17
   This price remained constant throughout the life of the Plan.
18
   Plan Document §§ 4.1, 7.4.

                                                  23
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       ANSWER:         Mr. Long responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long denies the allegations in this paragraph

to the extent they are inconsistent with the Plan documents. Mr. Long denies any remaining

allegation in this paragraph.

       59.     The remainder of the Plan’s 30% interest in Russelectric, for which the ESOP loan

was not yet paid, stayed as unallocated shares in the Plan’s loan suspense account. Though

unallocated shares were not yet released to individual participants, they were assets of the Plan,

not the Company. Indeed, the Plan prohibited unallocated shares from inuring or reverting back to

the Company.19 The only exception to this rule is that in the event of default on the ESOP loan,

the unallocated shares could be used to satisfy the amount of any outstanding liability.20

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long denies the allegations in this paragraph

to the extent they are inconsistent with the Plan documents. Mr. Long denies any remaining

allegation in this paragraph.

       60.     Employees were not permitted to contribute money to the Plan. The only two

permitted sources of contributions to the Plan were (1) the annual loan payment on the ESOP loan

funded by the Company, as required under the terms of the Plan, and (2) annual dividend payments

made by Russelectric to all stockholders at the discretion of the Board of Directors.21 For tax

purposes, these payments were considered employer contributions to a qualified plan.




19
   Plan Document § 15.
20
   Plan Document § 15; ESOP Note and Pledge Agreement § 6.01, 6.02.
21
   Dividends were paid to the Plan for all shares, not just those that had been allocated to participant
accounts. Plan Document § 7.6(b).

                                                  24
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       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long denies the allegations in this paragraph

to the extent they are inconsistent with the Plan documents. Mr. Long denies any remaining

allegation in this paragraph.

       61.     Each participant had the right to vote the shares that had been allocated to their Plan

account.22 However, the trustee was responsible for voting all unallocated shares as well as any

allocated shares not voted by participants.23

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long denies the allegations in this paragraph

to the extent they are inconsistent with the Plan documents. Mr. Long denies any remaining

allegation in this paragraph.

       62.     Shares held by the Plan, whether allocated or unallocated, were not transferable,

and thus could not be bought or sold freely by participants.24

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long denies the allegations in this paragraph

to the extent they are inconsistent with the Plan documents. Mr. Long denies any remaining

allegation in this paragraph.




22
   Plan Document § 13(a).
23
   Plan Document § 13(b).
24
   Plan Document § 14.1.

                                                 25
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       63.     Upon retirement, death, or separation from employment, an employee was

permitted to sell their allocated shares for “fair market value,” which was determined annually by

the trustee on the last day of each Plan year.25 However, so long as the Plan was in existence and

there remained an outstanding balance on the ESOP loan, a participant retiring or separating

service had no right to the value of any unallocated shares, and had no right to purchase any of

those shares upon separation or at any other time.26

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long denies the allegations in this paragraph

to the extent they are inconsistent with the Plan documents. Mr. Long denies any remaining

allegation in this paragraph.

       64.     Russelectric made ten contributions to the Plan between the date of the initial stock

sale in October 2010 and the Plan’s termination on June 30, 2016. Russelectric made its first four

scheduled loan payments from 2011 through 2014, and made seven annual dividend payments

between 2011 and 2016.27 As a result of these payments, the ESOP loan balance was

approximately $15.2 million as of June 30, 2016.28 Of the 120,000 shares bought by the Plan,

42,618 had been allocated to participant accounts by this time, while 77,382 shares remained

unallocated in the loan suspense account.

       ANSWER:         Mr. Long admits that Russelectric made contributions to the ESOP. Mr.

Long lacks sufficient information to admit or deny any remaining allegations in this paragraph.

       The Plan’s Retention of Prairie Capital to Determine its Assets’ Fair Market Value


25
   Plan Document §§ 7.8, 12.2.
26
   Plan Document §§ 4.1(d), 9.1, 11.1, 11.2.
27
   Dkt. 52-5.
28
   Id.

                                                26
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         65.    Every year, the “fair market value” of each share was determined by an independent

advisor retained by the trustee to perform a valuation as of the last day of the Plan year. However,

the results of the valuation were heavily influenced by the assumptions, data, and financial

projections provided to the advisor by the Russelectric Board of Directors that included

assumptions regarding future revenues, the company’s growth rate, and the cost of working capital,

among other figures.

         ANSWER:       Mr. Long admits that an independent financial advisor was retained by the

ESOP trustee to determine the fair market value of Russelectric shares as of the end of each Plan

year. Mr. Long lacks sufficient information to admit or deny the remaining allegations in this

paragraph.

         66.    Prairie Capital performed the initial valuation of the company for purposes of the

ESOP’s formation and was retained as the valuation advisor throughout the Plan’s existence.

Prairie Capital was retained throughout this time despite the fact that the divorce proceedings had

shown that Prairie Capital was highly susceptible to the influence of management and had

repeatedly failed to adhere to the standards of professional appraisal practice. For example, Prairie

Capital’s agent testified in court on June 28, 2011 that its valuation projected company revenues

of $100 million for the fiscal year ending in two days (June 30, 2011)—based solely on a projection

given to him by management—even though actual revenues were $148 million.29 When the agent

was asked if he would want to know about such a discrepancy, he testified that he would not,

because that was the trustee’s concern, not his.30 Prairie Capital also committed blatant errors that

suggested a willingness to manipulate its analysis to match management’s desired targets. For

example, Prairie Capital rounded down more than 70 figures associated with its valuation


29
     Divorce Dkt No. 2076.
30
     30 Divorce Dkt No. 555.

                                                 27
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comparators (while rounding none upward) and failed to reduce to present value liabilities that

would not be owed for decades.31

       ANSWER:         Mr. Long admits that Prairie Capital served as an independent valuation

advisor for the ESOP’s trustee. Mr. Long lacks sufficient information to admit or deny any

remaining allegations in this paragraph.

               Plan Participants’ Right to Compensation Upon Plan Termination

       67.     Russelectric’s Board of Directors had the right to terminate the Plan at any time at

its discretion.32 This action was not subject to the approval of Plan participants or the Plan’s

trustee.33 Upon the Plan’s termination, participants had no discretion as to whether the allocated

shares in their account were sold or not.34 They also had no right to purchase any of the unallocated

shares held in the loan suspense account.35

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long denies the allegations in this paragraph

to the extent they are inconsistent with the Plan documents. Mr. Long denies any remaining

allegation in this paragraph.

       68.     Termination of the Plan triggered a sequence of events. The legal distinction

between allocated and unallocated shares disappeared. The Plan’s trustee and the board of directors

were required to negotiate the price the Company would pay for each share held by the Plan. That

negotiation was to be guided by a valuation performed by an independent advisor. The Company


31
   Id.
32
   Plan Document § 16.2 (right to terminate the Plan); id. § 13(c) (right to direct trustee to tender
or sell shares held in Trust).
33
   Plan Document § 13(b).
34
   Id.; Plan Document §§ 13(c), 16.2.
35
   Plan Document § 4.1(d).

                                                 28
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would pay participants the fair market value of the allocated shares in participants’ accounts. The

Company would similarly pay the Plan the fair market value of the Plan’s unallocated shares. The

cash paid to the Plan for its unallocated shares would then be used to repay the outstanding balance

of the ESOP loan. The cash remaining after the ESOP loan was satisfied would be paid to current

employee Plan participants in the same pro rata manner that employer contributions were

allocated.36 Pursuant to IRS guidance, the distribution of proceeds from the sale of unallocated

shares that occurs upon termination of the Plan is considered earnings resulting from previous

contributions to participants’ accounts.37

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long denies the allegations in this paragraph

to the extent they are inconsistent with the Plan documents. Mr. Long denies any remaining

allegations in this paragraph.

       69.     Under the terms of the Plan, no assets of the Plan were permitted to revert directly

or indirectly to Russelectric upon termination.38 The Plan Document further provided that upon

termination, participants’ rights to benefits became nonforfeitable.39 The Plan Document further




36
   ESOP Note § 7.2 (providing that in the event of Plan termination, the ESOP “shall immediately
use the Collateral [i.e., the unallocated shares] to repay the ESOP Note and, if the value of the
Collateral exceeds the ESOP Note, any amount remaining after the ESOP Note has been paid in
full shall be allocated to the participants of the Plan.”) (emphasis added); Plan Document §§
4.1(b), 7.12.
37
   IRS Priv Letter Ruling 200514026 (Apr. 8, 2005); IRS Priv. Ltr. Ruling 200321020 (May 23,
2003); IRS Priv. Ltr. Ruling 200147056 (Nov. 23, 2001); IRS Priv. Ltr. Ruling 200034039 (Aug.
25, 2000).
38
   Plan Document § 15. Though Section 15 permitted such reversion under particular conditions,
none of those conditions existed in the 2016 ESOP termination.
39
   Plan Document § 16.3.

                                                29
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provided that no amendment to the Plan could reduce the value of any participant’s nonforfeitable

benefits, or result in the payment of Plan assets to Russelectric.40

          ANSWER:       Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the terms of the Plan documents speak for

themselves. To the extent a response is necessary, Mr. Long denies the allegations in this paragraph

to the extent they are inconsistent with the Plan documents. Mr. Long denies any remaining

allegations in this paragraph.

                Defendants’ Termination of the Plan and Underpayment for its Shares

          70.    The company terminated the ESOP effective June 30, 2016 and redeemed the

ESOP’s shares on November 30, 2016. As a result, effective November 30, 2016, and at all times

thereafter, the Plan held zero shares of Russelectric stock. There were around 400 participants in

the ESOP when it was terminated. The Plan did not require shareholder approval to terminate the

Plan, and the Board did not seek approval from ESOP participants prior to termination of the Plan

or redemption of the Plan’s shares.41

          ANSWER:       Mr. Long admits that the Company terminated the ESOP effective as of

June 30, 2016, and that Russelectric redeemed the ESOP’s shares as part of the 2016 ESOP

Redemption. The terms of the Plan, Redemption Agreement, and other relevant documents speak

for themselves, and Mr. Long denies any allegations in this paragraph to the extent they are

inconsistent with those documents. Mr. Long denies any remaining allegations in this paragraph.

          71.    On November 30, 2016, the company’s board approved, and Argent Trust agreed

to, the consideration to be paid for the ESOP’s allocated and unallocated shares.




40
     Plan Document §§ 16.1(b), (c).
41
     Plan Document § 13(b).

                                                 30
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          ANSWER:       Mr. Long admits the Company’s board approved on behalf of the Company

the consideration to be paid as part of the 2016 ESOP Redemption. Mr. Long denies that the

Company’s board had any role in approving the 2016 ESOP Redemption on behalf of the ESOP.

Mr. Long further responds that the terms of the Redemption Agreement and other related

documents speak for themselves. To the extent a further response is required, Mr. Long denies any

allegations in this paragraph to the extent they are inconsistent with the Redemption Agreement

and other related documents. Mr. Long denies any remaining allegations in this paragraph.

          72.    For the Plan’s allocated shares, the Company paid $134 per share and agreed to a

“clawback” provision that entitled participants to the difference between the $134 per share price

and the “net share purchase price received by all shareholders of the Company upon the

Consummation of Change of Control Transaction” if the company was sold to a third party by

June 30, 2019.42

          ANSWER:       Mr. Long responds that the terms Redemption Agreement and separate

Letter Agreement speak for themselves. Mr. Long denies the allegations in this paragraph to the

extent they are inconsistent with the Redemption Agreement and Letter Agreement. Mr. Long

denies any remaining allegations in this paragraph.

          73.    The inclusion of the clawback provision for participants’ allocated shares

represented a tacit acknowledgement that the ESOP had been dramatically underpaid for those

shares. Because a sale of Russelectric was already on the horizon, the clawback provision allowed

the free market to determine the value of the company, and the additional compensation to which

Plan participants were entitled.

          ANSWER:       Mr. Long denies the allegations in this paragraph.


42
     Dkt. 52-4 at 10.

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       74.     As to the Plan’s unallocated shares, the Plan redeemed all of them in exchange for

cancellation of the ESOP loan. No further consideration was provided, and no clawback provision

was attached to the unallocated shares. This exchange implicitly valued the unallocated shares at

$185 per share.

       ANSWER:         Mr. Long responds that the terms Redemption Agreement speak for

themselves. Mr. Long denies the allegations in this paragraph to the extent they are inconsistent

with the Redemption Agreement. Mr. Long denies any remaining allegations in this paragraph.

       75.     The consideration paid for the Plan’s unallocated shares implied a company

valuation of $70 million.

       ANSWER:         Mr. Long denies the allegations in this paragraph.

       76.     The consideration paid for the Plan’s allocated and unallocated shares was codified

as an amendment to the Plan.43 The amendment did not condition receipt of funds from the

clawback provision on executing a release of claims or impose any other condition on their receipt.

       ANSWER:         Mr. Long responds that the terms of the Plan documents and any

amendments thereto speak for themselves. Mr. Long denies the allegations in this paragraph to

the extent they are inconsistent with the Plan documents and amendments. Mr. Long denies any

remaining allegations in this paragraph.

       77.     Termination of the Plan was initiated by the Russells and their agents. And as a

result of the Plan’s termination, the Russells (through the Stockholder Trusts) attained control of

100% of Russelectric. This degree of control conferred significant value to the Russells and should

have been reflected in the consideration paid for the Plan’s shares.44


43
  Dkt. 52-4.
44
  See Montgomery, 39 F. Supp. 2d at 918–19 (retiring ESOP shares for less than fair value
“vest[ed] sole … ownership of the Company in [the founder’s heir] at a price below market
value”); see also Howard, 100 F.3d at 1489 (“[T]he ESOP’s minority block … merge[d] with [the

                                                32
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       ANSWER:         Mr. Long denies the allegations in this paragraph.

       78.     Yet in performing its valuation of the ESOP’s shares at Plan termination, Prairie

Capital—using data and assumptions provided by the Board of Directors—applied a significant

minority ownership discount to the value of the Plan’s shares, and did not take into account that

the transaction vested sole ownership of the Company with the Russells, significantly increasing

the value of their shares.

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.

       79.     In September 2018, 22 months after the ESOP’s shares were sold to Russelectric at

a $70 million valuation and the Plan terminated, the Russells agreed to sell Russelectric to Siemens

for $335.13 million. This translated to a share price of approximately $837.83 per share. But as

discussed below, the Russell Defendants and Defendants Wyatt and Long deducted approximately

$65 million of sham “transaction expenses” from that sum in calculating the amount due to

participants under the Plan’s clawback provision. These “transaction expenses” were primarily

comprised of exorbitant bonuses the Russell Defendants paid to themselves, their co-conspirator

Defendant Long, and several enablers. This left what they claimed was a “net purchase price” of

only $270,105,000. The reduced amount translated to a price of $676 per share, and ESOP

participants received additional payments equal to the difference between the purported $676 per

share price and the $134 redemption price paid for their allocated shares when the plan was

terminated. No additional consideration was paid for the former Plan’s unallocated shares.

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the Stock Purchase Agreement with Siemens

speaks for itself. To the extent a response is necessary, Mr. Long denies the allegations in this



chairman’s] controlling block and he … capture[d] all of the increased value.”).

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paragraph to the extent they are inconsistent with the Stock Purchase Agreement. Mr. Long denies

any remaining allegations in this paragraph.

       80.      At the time the Plan was terminated in 2016, Russelectric was actually worth

between $200 and $300 million—not $70 million. Had the board of directors and Argent properly

valued the Plan’s unallocated shares and paid their fair market value, Plan participants would have

received between $23 and $40 million in additional retirement benefits. This represents the amount

the unallocated shares would have netted in excess of the outstanding ESOP loan balance. By

failing to engage in a prudent valuation process and by selling the unallocated shares for less than

their fair market value, Defendants breached their fiduciary duties and engaged in prohibited

transactions.

       ANSWER:         Mr. Long denies the allegations in this paragraph.

                                 RUSSELL FAMILY TRUSTS

                                Russelectric Stockholder Trusts

       81.      The Raymond G. Russell Trust dated 5-5-2000 (“RGR Trust”) held 35% of

Russelectric’s stock following the Russell family’s 2015 settlement with the founder’s estate.

Upon information and belief, the RGR Trust held 50% of Russelectric’s stock at all times between

the ESOP termination effective date (June 30, 2016) and the sale to Siemens.

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.

       82.      The RGR Trust’s Russelectric stock was divided in equal parts between subtrusts

for the benefits of the founder’s four children: the Raymond G. Russell GST Exempt Russelectric

Subtrust f/b/o John H. Russell and the Raymond G. Russell GST Non-Exempt Russelectric

Subtrust f/b/o John H. Russell (“RGR-JHR Subtrusts”); the Raymond G. Russell GST Exempt

Russelectric Subtrust f/b/o Suzanne E. Russell and the Raymond G. Russell GST Non-Exempt



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Russelectric Subtrust f/b/o Suzanne E. Russell (“RGR-SER Subtrusts”); the Raymond G. Russell

GST Exempt Russelectric Subtrust f/b/o Lisa J. Russell and the Raymond G. Russell GST Non-

Exempt Russelectric Subtrust f/b/o Lisa J. Russell (“RGR-LJR Subtrusts”); and the Raymond G.

Russell GST Exempt Russelectric Subtrust f/b/o James R. Russell and the Raymond G. Russell

GST Non-Exempt Russelectric Subtrust f/b/o James R.. Russell (“RGR- JRR Subtrusts”)

(collectively, the RGR Subtrusts”).

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.

       83.     Defendants Suzanne E. Russell and Lisa J. Russell, along with Wells Fargo as

corporate trustee, were co-trustees of the RGR Trust and the RGR Subtrusts at all times between

the 2015 probate settlement and the sale to Siemens.

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.

       84.     Because the RGR Trust held 50% of the stock of Russelectric, the Plan employer,

when the board approved the ESOP redemption price on November 30, 2016, the RGR Trust was

a “party in interest” to the ESOP pursuant to 29 U.S.C. § 1002(14)(E)(i). Because the RGR Trust

was a more than 10% shareholder of Russelectric, the Plan employer, the RGR Trust was a “party

in interest” to the ESOP pursuant to 29 U.S.C. § 1002(14)(H).

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation. Mr.

Long further responds that this paragraph states legal conclusions to which no response is required.

       85.     The RGR Trust benefited from the company’s redemption of the ESOP’s

unallocated Russelectric stock for less than fair value because the value of the RGR Trust’s

Russelectric stock increased without any obligation to account for that increase in value through

payments to the ESOP or ESOP participants.




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       ANSWER:         Mr. Long denies that the ESOP received less than fair market value for

Russelectric shares during the 2016 ESOP Redemption. Mr. Long lacks sufficient information to

admit or deny any remaining allegations in this paragraph.

       86.     Publicly available records do not provide a clear or complete post-settlement

genealogy of the Russelectric stock allocated to Carol Russell in the 2015 settlement with the

founder’s estate. The stake allocated to Carol Russell in the 2015 settlement, inclusive of

successive transfers, will be generally referred to as the “CCR Stake.” Details regarding the timing

of successive transfers and the proper identification of the successors are alleged upon information

and belief and in the alternative, as applicable.

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.

       87.     The CCR Stake was enlarged to a 50% stake in Russelectric on the ESOP

termination effective date, June 30, 2016. By that date, Carol Russell had died. Between the ESOP

termination effective date and the sale to Siemens, the CCR Stake was held by Carol Russell’s

estate (the “CCR Estate”), the Carol C. Russell Trust dated 5-19-2010 (the “CCR 2010 Trust”), or

the Carol C. Russell Trust dated 5-20-13 (the “CCR 2013 Trust”).45 The four Russell children were

the beneficiaries of the CCR Estate, the CCR 2010 Trust, and the CCR 2013 Trust.

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.




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   Probate filings from 2016 related to the CCR Estate identify the CCR 2010 Trust and the four
Russell children as the beneficiaries of the CCR Estate. Court filings from a separate matter related
to James R. Russell in 2018 attribute his beneficial interest in the CCR Stake to the CCR Estate or
the CCR 2010 Trust (in the alternative). Probate filings from later in 2018 related to the founder’s
estate identify the CCR 2013 Trust as the holder of the CCR Stake. At this stage, is not known to
Plaintiffs whether CCR 2010 Trust and the CCR 2013 Trust are the same trust, or whether there
was a transfer of the CCR Stake to the CCR 2013 Trust before or after Carol Russell’s death. It is
also not clear when the CCR 2010 Trust or the CCR 2013 Trust was funded with the CCR Stake
vis-à-vis the CCR Estate or otherwise.

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       88.      Defendant John H. Russell was the personal representative of the CCR Estate and

the trustee of the CCR 2010 Trust and the CCR 2013 Trust. Defendant John H. Russell thus

controlled the CCR Stake at all relevant times after his mother’s death.

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.

       89.      Because the CCR stake represented 50% of the stock of Russelectric, the Plan

employer, when the board approved the ESOP redemption price on November 30, 2016, the holder

of the CCR Stake (whether the CCR Estate, the CCR 2010 Trust, or the CCR 2013 Trust) was a

“party in interest” to the ESOP pursuant to 29 U.S.C. § 1002(14)(E)(i). Because the CCR Stake

represented more than 10% of the outstanding shares of Russelectric, the Plan employer, the holder

of the CCR Stake (whether the CCR Estate, the CCR 2010 Trust, or the CCR 2013 Trust) was a

“party in interest” to the ESOP pursuant to 29 U.S.C. § 1002(14)(H).

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation. Mr.

Long further responds that this paragraph states legal conclusions to which no response is required.

       90.      The holder of the CCR Stake (whether the CCR Estate, the CCR 2010 Trust, or the

CCR 2013 Trust) benefited from the company’s redemption of the ESOP’s unallocated

Russelectric stock for less than fair value because the value of the CCR Stake increased without

any obligation to account for that increase in value through payments to the ESOP or ESOP

participants.

       ANSWER:         Mr. Long denies that the ESOP received less than fair market value for

Russelectric shares during the 2016 ESOP Redemption. Mr. Long lacks sufficient information to

admit or deny any remaining allegations in this paragraph. Mr. Long further responds that this

paragraph states legal conclusions to which no response is required.




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       91.     The RGR Trust and RGR Subtrusts, the CCR Estate, the CCR 2010 Trust, and the

CCR 2013 Trust are collectively referred to herein as the “Russelectric Stockholder Trusts.”

       ANSWER:         Mr. Long responds that this paragraph sets forth no factual allegations for

which a response is required.

                                Russelectric Stock Proceeds Trusts

       92.     In the sale to Siemens, all the Russelectric stock held by the Russelectric

Stockholder Trusts was transferred to Siemens in exchange for cash. The four Russell children

directed that some or all of the cash proceeds of the sale be deposited into new trusts, including:

the John H. Russell 2019 Mandatory Income Trust dated 3-5-2019 and the John H. Russell 2019

GST Non-Exempt Discretionary Trust dated 3-5-2019 (the “JHR Proceeds Trusts”); the Suzanne

E. Russell 2019 Mandatory Income Trust dated 3-4-2019 and the Suzanne E. Russell 2019 GST

Non-Exempt Discretionary Trust dated 3-4-2019 (the “SER Proceeds Trusts”); the Lisa J. Russell

2019 Mandatory Income Trust dated 3-4-2019 and the Lisa J. Russell 2019 GST Non-Exempt

Discretionary Trust dated 3-4-2019 (the “LJR Proceeds Trusts”); and the James R. Russell 2019

Mandatory Income Trust dated 3-5-2019 and the James R. Russell GST-Non-Exempt

Discretionary Trust dated 3-5-2019 (the “JRR Proceeds Trusts”).

       ANSWER:         Mr. Long admits that Russelectric stock was transferred to Siemens in

connection with the Siemens sale. Mr. Long lacks sufficient information to admit or deny any

remaining allegations in this paragraph.

       93.     Defendant John H. Russell is the trustee of the JHR Proceeds Trusts. Defendant

Suzanne E. Russell is the trustee of the SER Proceeds Trust. Defendant Lisa J. Russell is the trustee

of the LJR Proceeds Trusts. Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell

are co-trustees of the JRR Proceeds Trusts.



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       ANSWER:        Mr. Long lacks sufficient information to admit or deny this allegation.

       94.     The JHR Proceeds Trusts, SER Proceeds Trusts, LJR Proceeds Trusts, and JRR

Proceeds Trusts, and any additional trusts controlled by Defendants that are discovered after this

date to hold proceeds of Russelectric stock (including the Russelectric Stockholder Trusts), are

collectively referred to herein as the “Russelectric Stock Proceeds Trusts.”

       ANSWER:        Mr. Long responds that this paragraph sets forth no factual allegations for

which a response is required.

                                        WELLS FARGO

       95.     Pursuant to a voting agreement entered into with the Russell family in connection

with the 2015 settlement, Wells Fargo, as co-trustee of the RGR Trust and RGR Subtrusts,

exercised 100% of the voting power of Russelectric stock held by the RGR Trust and RGR

Subtrusts.4615 Wells Fargo thus exercised 50% of the voting power of all Russelectric stock at the

time that the board approved the ESOP redemption price on November 30, 2016.

       ANSWER:        Mr. Long lacks sufficient information to admit or deny this allegation.

       96.     In its trustee agreement, Wells Fargo was entitled to receive—and in fact

received—a transaction fee equal to 1.75% of the proceeds of the sale of Russelectric stock held

by the RGR Trust to Siemens.47

       ANSWER:        Mr. Long lacks sufficient information to admit or deny this allegation.

       97.     Wells Fargo benefited from Russelectric’s redemption of the ESOP’s unallocated

Russelectric stock for less than fair value through its 1.75% change of control fee. The value of



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   Wells Fargo’s voting power was unqualified except as set forth in the agreement. Wells Fargo
was required to elect one of its employees as a director of the company, see supra ¶ 19, and any
vote by Wells Fargo to sell Russelectric stock held in the RGR Trust and RGR Subtrusts required
the consent of three of the founder’s four children.
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   RGR Estate Dkt 8-24-18 & 9-17-18.

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Wells Fargo’s fee interest increased alongside the increase in the value of the RGR Trust’s

Russelectric stock without any obligation to account for that increase in value through payments

to the ESOP or ESOP participants.

       ANSWER:          Mr. Long denies that the ESOP received less than fair market value for

Russelectric shares during the 2016 ESOP Redemption. Mr. Long lacks sufficient information to

admit or deny any remaining allegations in this paragraph.

                                          PLAINTIFFS

       98.     Plaintiff Rita Bowers resides in Weymouth, Massachusetts. Plaintiff Bowers

worked for Russelectric between 1999 and 2017. Plaintiff Bowers had 94.826 Russelectric shares

allocated to her ESOP account on the ESOP termination effective date. Plaintiff Bowers was a

vested participant in the ESOP as contemplated by 29 U.S.C. § 1002(7). Plaintiff Bowers would

have received additional benefits from her ESOP account had Defendants provided adequate

consideration for redemption of the ESOP’s unallocated shares and complied with the ESOP’s

clawback provision.

       ANSWER:          Mr. Long lacks sufficient information to admit or deny the allegations in

this paragraph. Mr. Long further responds that this paragraph states legal conclusions to which no

response is required.

       99.     Plaintiff Michele Gear-Cole resides in Whitman, Massachusetts. Plaintiff Gear-

Cole worked for Russelectric between 2000 and 2021. Plaintiff Gear-Cole had 86.894 Russelectric

shares allocated to her ESOP account on the ESOP termination effective date. Plaintiff Gear-Cole

was a vested participant in the ESOP as contemplated by 29 U.S.C. § 1002(7). Plaintiff Gear-Cole

would have received additional benefits from her ESOP account had Defendants provided




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adequate consideration for redemption of the ESOP’s unallocated shares and complied with the

ESOP’s clawback provision.

       ANSWER:          Mr. Long lacks sufficient information to admit or deny the allegations in

this paragraph. Mr. Long further responds that this paragraph states legal conclusions to which no

response is required.

       100.    Plaintiff Florence Lorenzano resides in Brockton, Massachusetts. Plaintiff

Lorenzano has worked for Russelectric since 1999. Plaintiff Lorenzano had 73.847 Russelectric

shares allocated to her ESOP account on the ESOP termination effective date. Plaintiff Lorenzano

was a vested participant in the ESOP as contemplated by 29 U.S.C. § 1002(7). Plaintiff Lorenzano

would have received additional benefits from her ESOP account had Defendants provided

adequate consideration for redemption of the ESOP’s unallocated shares and complied with the

ESOP’s clawback provision.

       ANSWER:          Mr. Long lacks sufficient information to admit or deny the allegations in

this paragraph. Mr. Long further responds that this paragraph states legal conclusions to which no

response is required.

       101.    Plaintiff Reginald Tercy resides in Brockton, Massachusetts. Plaintiff Tercy has

worked for Russelectric since 1997. Plaintiff Tercy had 92.487 Russelectric shares allocated to his

ESOP account on the ESOP termination effective date. Plaintiff Tercy was a vested participant in

the ESOP as contemplated by 29 U.S.C. § 1002(7). Plaintiff Tercy would have received additional

benefits from his ESOP account had Defendants provided adequate consideration for redemption

of the ESOP’s unallocated shares and complied with the ESOP’s clawback provision.




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       ANSWER:          Mr. Long lacks sufficient information to admit or deny the allegations in

this paragraph. Mr. Long further responds that this paragraph states legal conclusions to which no

response is required.

 DEFENDANTS’ INDIVIDUAL PARTICIPATION IN THE ILLEGAL TRANSACTION

                                      BOARD MEMBERS

       102.    Defendants John H. Russell, Denise D. Wyatt, and Dennis J. Long made up

Russelectric’s board of directors between the 2015 divorce and probate settlement and the sale to

Siemens in 2019.

       ANSWER:          Mr. Long admits that John Russell, Denise Wyatt, and Dennis Long joined

Russelectric’s board of directors in 2015 and served on the board until 2019. Mr. Long denies any

remaining allegations in this paragraph.

       103.    Defendant John H. Russell is the son of Russelectric’s founder and was appointed

to his director position by his mother pursuant to the terms of the 2015 settlement.

       ANSWER:          Mr. Long admits that Defendant John H. Russell is the son of the

Russelectric’s founder and served on the Russelectric board. Mr. Long lacks sufficient information

to admit or deny any remaining allegations in this paragraph. Mr. Long further responds that the

terms of any settlement agreement speak for themselves.

       104.    Defendant Denise D. Wyatt is an employee of Wells Fargo—at all relevant times

in its trust department—and was appointed to her director position by Wells Fargo in its capacity

as the corporate trustee of the RGR Trust pursuant to the terms of the 2015 settlement.

       ANSWER:          Mr. Long admits that Denise Wyatt served on the Russelectric board. Mr.

Long lacks sufficient information to admit or deny any remaining allegations in this paragraph.

Mr. Long further responds that the terms of any settlement agreement speak for themselves.



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       105.    Defendant Dennis J. Long is a professional ESOP consultant and was appointed to

his director position by Argent in its capacity as trustee of the ESOP pursuant to the terms of the

2015 settlement.

       ANSWER:         Mr. Long admits that he was appointed to the Russelectric board in 2015

and that he served as an ESOP consultant prior to 2009. Mr. Long further responds that the terms

of any settlement agreement speak for themselves. Mr. Long denies any remaining allegations to

the extent they are inconsistent with the terms of the settlement agreement. Mr. Long denies any

remaining allegations in this paragraph.

       106.    As directors, Defendants John Russell, Wyatt, and Long exercised the company’s

authority as the “administrator” of the ESOP. Additionally, pursuant to the terms of the ESOP and

the 2015 settlement, the director Defendants had authority to remove and appoint individual

company officers tasked to perform “administrator” functions on behalf of the ESOP. The director

Defendants further had authority to remove Argent and appoint a successor trustee to act as the

trustee of the ESOP (and had implicit authority to select individual Argent agents to work on the

ESOP and Argent’s legal counsel, see supra ¶ 22). The director Defendants also oversaw the

preparation of financial records and projections used to value the ESOP’s shares. The director

Defendants further had final authority to reject or approve the consideration to be provided to the

ESOP in connection with the termination of the ESOP and redemption of the ESOP’s shares. In

these capacities, the director Defendants acted as fiduciaries of the ESOP pursuant to 29 U.S.C. §

1002(21)(A)(i),(iii) because these defendants exercised “any authority or control respecting

management or disposition of [the Plan’s] assets” and had “discretionary authority or discretionary

responsibility in the administration of [the Plan].”




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       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the terms of the Plan documents speak for

themselves. Mr. Long denies the allegations of this paragraph to the extent they are inconsistent

with the terms of the Plan and other related documents. Mr. Long denies any remaining allegations

in this paragraph.

                                             ARGENT

       107.    Argent is a Tennessee trust corporation headquartered in Ruston, Louisiana. Argent

provides professional services to employee benefit plans, including ESOPs.

       ANSWER:         Mr. Long admits the allegations in this paragraph.

       108.    Argent is the successor to the Plan’s original trustee, Reliance Trust, following

Argent’s acquisition of portions of Reliance Trust’s business that included ESOP trustee services.

       ANSWER:         Mr. Long admits that Reliance Trust served as the ESOP’s trustee before

Argent. Mr. Long lacks sufficient information to admit or deny the remaining allegations in this

paragraph.

       109.    As the trustee of the ESOP, Argent was responsible for holding the ESOP’s

Russelectric Inc. stock and overseeing valuations of that stock. In its mandate, Argent was

obligated to act prudently and in the interest of ESOP participants. As trustee, Argent was

responsible for negotiating on behalf of participants the consideration to be paid for all shares held

by the Plan upon the Plan’s termination. Argent had the authority to block the sale of the Plan’s

shares if it determined the consideration was less than the fair market value of those shares.

However, Argent’s ability to take such an action was limited by the Board of Directors’ authority

to terminate Argent at any time and replace them with another trustee.




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       ANSWER:          Mr. Long admits that Argent served as the ESOP’s independent trustee. Mr.

Long responds that the remaining allegations in this paragraph state legal conclusions for which

no response is required. To the extent a response is required, Mr. Long denies any remaining

allegations in this paragraph.

       110.    Upon information and belief, Argent participated in creating and approved the

ESOP share redemption terms adopted by the director Defendants.

       ANSWER:          Mr. Long admits that Argent approved the terms of the 2016 ESOP

Redemption on behalf of the ESOP, in its capacity as the ESOP’s trustee. Mr. Long denies any

remaining allegations in this paragraph.

       111.    In these capacities, Argent acted as a fiduciary of the ESOP within the meaning of

29 U.S.C. § 1002(21)(A)(i) because Argent exercised “any authority or control respecting …

disposition of [the Plan’s] assets.” Argent was also a named fiduciary of the Plan within the

meaning of 29 U.S.C. § 1102(a) and pursuant to the terms of the written instruments under which

the Plan was established and maintained.

       ANSWER:          Mr. Long responds that this paragraph states legal conclusions to which no

response is required.

                                     THE RUSSELL HEIRS

       112.    As described above, Raymond G. Russell’s three older children, Defendants John

H. Russell, Suzanne E. Russell, and Lisa J. Russell, held various positions and interests with

respect to the company, the ESOP, Russelectric Stockholder Trusts, and Russelectric Stock

Proceeds Trusts.




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       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long lacks sufficient information

to admit or deny the allegations in this paragraph.

       113.    Because Defendant John H. Russell was a fiduciary of the ESOP, he was a “party

in interest” to the ESOP pursuant to 29 U.S.C. § 1002(14)(A). Because Defendant John H. Russell

was a director of Russelectric, the Plan employer, he was a “party in interest” to the ESOP pursuant

to 29 U.S.C. § 1002(14)(H). Because Defendant John H. Russell, as trustee or personal

representative of the holder of the CCR Stake, held and controlled 50% of the value and voting

power of Russelectric stock when the board approved the redemption price, Defendant John H.

Russell was a “party in interest” to the ESOP pursuant to 29 U.S.C. § 1002(14)(E)(i). Because

Defendant John H. Russell, as the beneficiary of the RGR-JHR Subtrusts and a beneficiary of the

CCR Stake, was an indirect 10% or more shareholder of Russelectric stock, Defendant John H.

Russell was a “party in the interest” to the ESOP pursuant to 29 U.S.C. § 1002(14)(H).

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long lacks sufficient information

to admit or deny the allegations in this paragraph.

       114.    Because Defendant Suzanne E. Russell, as co-trustee of the RGR Trust and RGR

Subtrusts, held 50% of the value of Russelectric stock when the board approved the redemption

price, Defendant Suzanne E. Russell was a “party in interest” to the ESOP pursuant to 29 U.S.C.

§ 1002(14)(E)(i). Because Defendant Suzanne E. Russell, as the beneficiary of the RGR-SER

Subtrusts and a beneficiary of the CCR Stake, was an indirect 10% or more shareholder of

Russelectric stock, Defendant Suzanne E. Russell was a “party in the interest” to the ESOP

pursuant to 29 U.S.C. § 1002(14)(H).



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       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long lacks sufficient information

to admit or deny the allegations in this paragraph.

       115.     Because Defendant Lisa J. Russell, as co-trustee of the RGR Trust and RGR

Subtrusts, held 50% of the value of Russelectric stock when the board approved the redemption

price, Defendant Lisa J. Russell was a “party in interest” to the ESOP pursuant to 29 U.S.C. §

1002(14)(E)(i). Because Defendant Lisa J. Russell, as the beneficiary of the RGR-LJR Subtrusts

and a beneficiary of the CCR Stake, was an indirect 10% or more shareholder of Russelectric

stock, Defendant Lisa J. Russell was a “party in the interest” to the ESOP pursuant to 29 U.S.C. §

1002(14)(H).

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long lacks sufficient information

to admit or deny the allegations in this paragraph.

       116.     Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell benefited from

the company’s redemption of the ESOP’s unallocated Russelectric stock for less than fair value

because the value of their interests in the Russelectric Stockholder Trusts increased without any

obligation to account for that increase in value through payments to the ESOP or ESOP

participants.

       ANSWER:         Mr. Long denies the allegations in this paragraph.

                                   JOHN AND JANE DOES

       117.     Additional persons that (i) knowingly benefited from the company’s unlawful

redemption of the ESOP’s unallocated Russelectric stock for less than fair value or (ii) presently

hold the proceeds of a knowing beneficiary, if any, are not currently known to Plaintiffs and are



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therefore sued in the names of John and Jane Does 1-25. If such persons are identified in discovery

in this matter, Plaintiffs intend to amend this pleading to identify and seek appropriate relief from

such culpable parties in their true names.

       ANSWER:         Mr. Long responds that this paragraph sets forth no factual allegations for

which a response is required. To the extent a response is required, Mr. Long denies any allegations

in this paragraph.

                            DEFENDANTS’ ERISA VIOLATIONS

                                           THE STATUTE

       118.     ERISA prohibits transactions between a Plan and a party in interest, and

transactions designed to benefit a party in interest. See 29 U.S.C. § 1106(a)(1)(A), (D). The statute

further requires fiduciaries to act prudently and in the interest of plan participants. See 29 U.S.C.

§ 1104(a)(1).

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. The relevant provisions in ERISA speak for themselves. Mr. Long denies the

allegations to the extent they are inconsistent with ERISA and federal law. Mr. Long denies any

remaining allegations in this paragraph.

       119.     ERISA’s per se prohibition on party in interest transactions is excused only if the

fiduciaries and other participants to the transaction can prove that the Plan received “adequate

consideration.” See 29 U.S.C. § 1108(e)(1); see also Kindle v. Dejana, 238 F. Supp. 3d 353, 367

(E.D.N.Y. 2017) (“[A]n ERISA plan may sell securities to a party-in-interest only if it receives

‘adequate consideration.’”); Howard 100 F.3d at 1488 (“[A] fiduciary … has the burden of proving

… that the ESOP received adequate consideration.”); Montgomery, 39 F. Supp. 2d at 935 (N.D.




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Ill. 1998) (“[D]efendants bear the burden of proving that the transaction [redeeming ESOP shares]

was fair and of benefit to the ESOP shareholders.”).

       ANSWER:        Mr. Long responds that this paragraph states legal conclusions to which no

response is required. The relevant provisions in ERISA speak for themselves. Mr. Long denies the

allegations to the extent they are inconsistent with ERISA and federal law. Mr. Long denies any

remaining allegations in this paragraph.

       120.    “Adequate consideration” is defined as “the fair market value of the asset as

determined in good faith by the trustee or named fiduciary pursuant to the terms of the plan and in

accordance with regulations promulgated by the Secretary.” 29 U.S.C. § 1002(18). “Fair market

value” is customarily considered to be

       the price at which an asset would change hands between a willing buyer and a

       willing seller when the former is not under any compulsion to buy and the latter is

       not under any compulsion to sell, and both parties are able, as well as willing, to

       trade and are well informed about the asset and the market for such asset.

See Proposed Regulation Relating to the Definition of Adequate Consideration, 53 Fed. Reg.

17637 (May 17, 1988).48

       ANSWER:        Mr. Long responds that this paragraph states legal conclusions to which no

response is required. The relevant provisions in ERISA speak for themselves. Mr. Long denies the

allegations to the extent they are inconsistent with ERISA and federal law. Mr. Long denies any

remaining allegations in this paragraph.




48
  Courts and practitioners customarily use this definition for guidance, although the regulation
was never enacted. See Brundle v. Wilmington Tr., N.A., 919 F.3d 763, 770 (4th Cir. 2019), as
amended (Mar. 22, 2019) (“DOL[] has proposed, but never enacted, regulations [defining
“adequate consideration.”] … [C]ourts look to these regulations for guidance[.]”).

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        121.    A fiduciary is liable for causing a plan to enter into a non-exempt prohibited

transaction. See 29 U.S.C. § 1106(a) (“A fiduciary with respect to a plan shall not cause the plan

to engage in a transaction, if he knows or should know that such transaction constitutes a direct or

indirect [prohibited transaction].”).

        ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. The relevant provisions in ERISA speak for themselves. Mr. Long denies the

allegations to the extent they are inconsistent with ERISA and federal law. Mr. Long denies any

remaining allegations in this paragraph.

        122.    A fiduciary is also liable for failing to act prudently and loyally with respect to any

matter involving the fiduciary’s duties to the plan. 29 U.S.C. § 1104(a)(1); see also Brundle, 919

F.3d at 773 (“[A]n ESOP fiduciary is liable to the plan participants if it breached its fiduciary

duties, i.e., failed to act ‘solely in the interest of the participants,’ with the care, skill, prudence,

and diligence used by a ‘prudent man acting in a like capacity.’”).

        ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. The relevant provisions in ERISA speak for themselves. Mr. Long denies the

allegations to the extent they are inconsistent with ERISA and federal law. Mr. Long denies any

remaining allegations in this paragraph.

        123.    Any other person is liable for knowingly benefiting from a violation of ERISA. See

Harris Tr. and Sav. Bank v. Salomon Smith Barney, Inc., 530 U.S. 238, 251 (2000) (holding that

a “transferee … demonstrated to have had actual or constructive knowledge of the circumstances

that rendered the transaction unlawful” is liable under ERISA); Walsh v. Vinoskey, 19 F.4th 672,

677–78 (4th Cir. 2021) (finding that “to knowingly participate” in an ERISA violation pursuant to

Harris Trust is to “have knowledge” that a party in interest received consideration “in excess of



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fair market value” from the ESOP); Fish v. GreatBanc Tr. Co., 109 F. Supp. 3d 1037, 1043 (N.D.

Ill. 2015) (participants may seek relief from “a knowing, gratuitous transferee” of an ESOP

transaction); In re Enron Corp. Securities, Derivative & ERISA Litig., 284 F. Supp. 2d 511, 571

(S.D. Tex. 2003) (“Liability under Harris Trust applies … to a knowing participation in a

fiduciary’s breach of fiduciary duties under § 404(a).”).

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. The relevant provisions in ERISA speak for themselves. Mr. Long denies the

allegations to the extent they are inconsistent with ERISA and federal law. Mr. Long denies any

remaining allegations in this paragraph.

    TRANSACTIONS WITH AND FOR THE BENEFIT OF PARTIES IN INTEREST

       124.    The company’s redemption of the ESOP’s unallocated stock was a prohibited

transaction because the ESOP (a “plan”) exchanged its unallocated stock for debt forgiveness (a

“sale or exchange … of any property”) with Russelectric, the Plan employer (a “party in interest”).

See 29 U.S.C. § 1106(a)(1)(A); see also Spires v. Schools, 271 F. Supp. 3d 795, 811 (D.S.C. 2017)

(“[C]ancellation of shares held by the Plan and forgiveness of notes collateralized by those shares

was a transaction involving Plan assets [for purposes of 29 U.S.C. § 1106(a)].”); Baggett, 1987

WL 383796, at *12 (“[S]tock held in an unallocated … account … is an asset of the ESOP.”).

       ANSWER:         Mr. Long denies the allegations in this paragraph. Mr. Long further

responds that this paragraph states legal conclusions to which no response is required. The relevant

provisions in ERISA and relevant terms of the Plan speak for themselves.

       125.    The company’s redemption of the ESOP’s unallocated stock for less than fair value

was also a prohibited transaction because John H. Russell, Suzanne E. Russell, Lisa J. Russell, the

Russelectric Stockholder Trusts, and Wells Fargo (each a “party in interest”) received the benefit



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of the true value of the ESOP’s unallocated stock (“a direct or indirect … transfer … or use [of]

… any assets of the plan”) through the resulting increase in value of their interest in the remaining

Russelectric stock. See 29 U.S.C. § 1106(a)(1)(D); see also Carter v. San Pasqual Fiduciary Trust

Co., 2016 WL 6803768, at *6 (C.D. Cal. Apr. 18, 2016) (company directors “caused …[the

company] to redeem [the company’s] stock held by the Plan” in order to sell that stock to a third-

party and thereby “indirectly transferred Plan assets to [themselves]” because the directors

received other consideration from the third-party buyer); Montgomery, 39 F. Supp. 2d at 919

(finding that transaction whereby a “director … became the sole owner of [the company] upon

repurchase of the ESOP stock by the Company” violated 29 U.S.C. § 1106(a)).

       ANSWER:         Mr. Long denies the allegations in this paragraph. Mr. Long further

responds that this paragraph states legal conclusions to which no response is required. The relevant

provisions in ERISA speak for themselves.

     THE RUSSELL HEIRS’ KNOWLEDGE OF INADEQUATE CONSIDERATION AND LACK OF
                              FIDUCIARY PROCESS

       126.    The redemption consideration of around $185 per share without a clawback

provision to participate in a subsequent sale (in the same manner provided for allocated shares)

was not adequate consideration for the ESOP’s unallocated shares. Defendants knew this. Indeed,

it was by design.

       ANSWER:         Mr. Long denies the allegations in this paragraph.

       127.    The Russell heirs aligned with their mother in the divorce and probate litigation

through a joint defense agreement, which means that they, too, were against the ESOP (see supra




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¶¶ 14, 16).49 According to their mother, she discussed dissolving the ESOP with them, and the

children agreed the ESOP transfer should be challenged.50

         ANSWER:       Mr. Long lacks sufficient information to admit or deny this allegation.

         128.   Defendant John H. Russell participated in discussions related to the below-market

price at which the founder transferred stock to the ESOP. He met and corresponded with his

mother’s valuation expert.51 He received copies of the valuation expert’s reports, and his mother

discussed with him.52 The expert believed that the ESOP valuation was “transparently not

credible” and that the founder “took $49.95 million in value and got $22.2 million for it.”53 John

Russell was personally present at the expert’s deposition when he testified that Russelectric was

at least twice as valuable as the ESOP valuation implied.54 His mother “talked over everything”

with him.55

         ANSWER:       Mr. Long lacks sufficient information to admit or deny this allegation.

         129.   Defendants Suzanne E. Russell was party to the joint defense agreement with her

mother and siblings.56 Her mother gave her copies of court filings, and she read them.57 She helped

her mother prepare for her deposition.58 Her mother discussed her valuation expert’s reports with

her.59

         ANSWER:       Mr. Long lacks sufficient information to admit or deny this allegation.




49
   Divorce Dkt No. 2160.
50
   Divorce Dkt No. 2182.
51
   Divorce Dkt Nos. 2174, 2711, 2242.
52
   Divorce Dkt No. 2175.
53
   Divorce Dkt No. 2076.
54
   Divorce Dkt Nos. 2174, 2177.
55
   Divorce Dkt No. 838.
56
   Divorce Dkt No. 2160.
57
   Id.
58
   Id.
59
   Divorce Dkt No. 2175.

                                                53
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       130.    Defendant Lisa J. Russell was also party to the joint defense agreement with her

mother and her siblings.60 Her mother discussed her valuation expert’s reports with her.61 She was

a named petitioner in her family’s action to challenge her father’s will. In that petition, she and her

mother and siblings alleged that Russelectric was at least twice as valuable as the ESOP valuation

suggested.62

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.

       131.    In short, Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell knew

the evidence that their father obtained less than fair market value for his stock from the ESOP. Yet

Defendant John H. Russell led the company to redeem the ESOP’s unallocated shares for the same

price with no clawback provision. Upon information and belief, Defendants Suzanne E. Russell

and Lisa J. Russell knew of their brother’s actions with respect to unallocated shares at the time of

the redemption. As advisory board members, longtime co-litigants interested in the demise of the

ESOP, and co-trustees of a Russelectric Stockholder Trust that saw its stake increase in value as a

result of the below-market redemption, it is reasonable to infer that Suzanne and Lisa Russell

participated in the unlawful redemption of the ESOP’s unallocated shares.

       ANSWER:         Mr. Long denies that the ESOP received less than fair market value for

Russelectric shares in connection with the 2016 ESOP Redemption. Mr. Long lacks sufficient

information to admit or deny any remaining allegations in this paragraph.

       132.    The redemption consideration for unallocated shares did not result from a change

in the Russell heirs’ position with respect to the fair value of the stock. Instead, the redemption




60
   Divorce Dkt No. 2160.
61
   Divorce Dkt 2175.
62
   Will Contest Dkt 5-10-13.

                                                  54
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terms were based on the Russell family’s cynical and erroneous belief that the company was

allowed to redeem the unallocated shares for less than fair value.

       ANSWER:          Mr. Long denies the allegations in this paragraph.

         133.   The Russells’ view is implicit in the superior treatment of allocated shares. In the

shadow of a costly, years-long dispute about what the company was worth, the clawback was a

punt: participants received a low price in cash up front, and then a clawback to get the price

determined by the sale of the company later. Although not without its flaws, this was an attempt

to fashion adequate consideration for allocated shares in the context of uncertainty. By omitting

the unallocated shares from the clawback, Defendants showed that they did not believe the

unallocated shares were entitled to the same consideration.

         ANSWER:        Mr. Long denies the allegations in this paragraph.

         134.   But the Russells’ belief was not just implicit. Redeeming the unallocated shares for

less than fair value was exactly what the family’s joint defense team wanted—and believed they

had a right—to do. The Russell family and its counsel repeatedly asserted this belief throughout

the divorce and probate cases. As an example, the heirs’ mother testified:

         Q. Let’s go back to the ESOP. You said the creation of the ESOP was a fraud.
         A. Yes.
         Q. What about the creation of the ESOP was a fraud, Mrs. Russell?
         A. Number one, the stock was massively undervalued. Number two, the company
         was always allowed to buy it back at that lowballed price.

         …

         Q. Do you believe Reliance Trust actively worked to perpetuate the fraud?
         A. I believe that Reliance Trust was given information that massively understated
         the value of the 30 percent. I believe there's paperwork there in their papers that
         allow the company to buy back the shares at any given time for pennies on a
         dollar. And yes, I believe Reliance Trust was all in the process of defrauding me
         and my family of marital assets.63


63
     Divorce Dkt No. 2165 (emphasis added).

                                                 55
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       ANSWER:        Mr. Long lacks sufficient information to admit or deny this allegation.

       135.    Defendant John H. Russell also subscribed to the view that the ESOP terms were

not “normal” and that the ESOP was “built to be dissolved.”64 As to the support and origin for that

theory, he cited discussions with his mother’s legal counsel under the protection of the mother and

children’s joint defense agreement.65

       ANSWER:        Mr. Long lacks sufficient information to admit or deny this allegation.

       136.    The joint defense team’s incorrect view appears to have been derived from a

misapprehension regarding ownership of the unallocated shares. The Russells believed that the

unallocated shares still belonged to the founder or the company because they had not been

“funded” or “paid for.”66 More than a year after the ESOP transaction had closed, the founder’s

wife sought to block “the sale of the 30% of Russelectric, Inc. shares to the ESOP” by preventing

her husband or Russelectric from providing “further dollars … to the ESOP.”67 The petition argued

that “only three-percent (3%) of the thirty-percent (30%) of the share have been funded, leaving

twenty-seven percent (27%) subject to this [divorce] Courts’ immediate protection.”68 Although

the divorce court did not enjoin ESOP contributions as requested, Mrs. Russell continued to

wrongly believe that the ESOP did not hold legal title to the unallocated shares: “My legal team

told me that it was not fully funded. He didn’t take 30 percent of the shares and title them all in

the ESOP’s name, I don’t believe.”69

       ANSWER:        Mr. Long lacks sufficient information to admit or deny this allegation.




64
   RGR Estate Dkt 11-4-14.
65
   Id.
66
   Divorce Dkt No. 2165.
67
   Divorce Dkt No. 555.
68
   Id.
69
   Divorce Dkt No. 2165.

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       137.    Accordingly, the joint defense team believed that the company could avoid any

obligation to transfer legal title of unallocated shares to the ESOP by depriving the ESOP of

contributions to pay the note:

       [T]he stock of the company known as Russelectric was merely pledged to the
       borrower, the Trustee, known as Reliance Trust Company. If Reliance Trust
       Company is not funded by the company … the ESOP will cease. Any money will
       be paid to the employees who may be vested, and the shares will be returned to the
       company in total.70

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.

       138.    The family’s view was unequivocally wrong. The ESOP did not buy shares over

time such that the company could simply cancel the agreement, forgo future purchase payments,

and keep the shares. The ESOP held legal title to all shares, allocated and unallocated, from

October 4, 2010 onward. The company could thus only redeem the ESOP’s shares—any of them—

for fair market value. See supra ¶¶ 5, 82-85, 88-89. If the company terminated the plan, the

company could exchange note forgiveness only for the number of shares equal in value to the note

balance.71 In either case, the ESOP’s participants were due the difference between the fair market

value of the unallocated shares and the unpaid balance on the note.

       ANSWER:         Mr. Long lacks sufficient information to admit or deny the allegations in

this paragraph regarding the Russell “family’s view.” Mr. Long further responds that this

paragraph states legal conclusions for which no response is required. To the extent a response is

required, Mr. Long denies the allegation in this paragraph. Mr. Long denies any remaining

allegations in this paragraph.


70
  Divorce Dkt No. 480.
71
  ESOP Note § 7.02 (“In the event the Company in its sole discretion, terminates the Plan other
than in the event of a sale of all or any portion of the Collateral, the Borrower shall immediately
use the Collateral to repay the ESOP Note and, if the value of the Collateral exceeds the ESOP
Note, any amount remaining after the ESOP Note has been paid in full shall be allocated to the
participants of the Plan.”) (emphasis added).

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         139.   Yet the Russell heirs continued as though the ESOP was not due fair market value

for its unallocated shares. As the divorce and probate cases progressed toward settlement, the heirs

negotiated a change to the Plan to block dividend payments from being used to accelerate payments

on the ESOP note, which the company and trustee had done in the past.72 This change mirrored

relief that Mrs. Russell had long sought in the divorce litigation and was designed to keep more

shares in the unallocated bucket for future redemption at a discounted price. And when the dust

settled and the heirs decided to terminate the Plan, Defendant John H. Russell (as board chairman)

allowed no consideration for the unallocated shares beyond debt forgiveness—which meant

applying the same valuation to the unallocated shares that the heirs had maintained was well below

fair market value.

         ANSWER:       Mr. Long lacks sufficient information to admit or deny the allegations in

this paragraph regarding the Russell heirs, Mr. Russell, and John Russell. Mr. Long further

responds that this paragraph states legal conclusions for which no response is required. To the

extent a response is required, Mr. Long denies those allegations in this paragraph. Mr. Long denies

any remaining allegations in this paragraph.

         140.   The heirs’ motivation was self-serving and plain. If the company could retire 30%

of the company’s shares while giving up substantially less than 30% of the company’s value, the

value of the remaining shares would increase. As the trustees and beneficiaries of the remaining

shares, the Russell children received a windfall. Although it was value that the heirs believed had

been wrongfully diverted from them by their father, they had no right to violate federal employee

benefits law to take it back.




72
     Divorce Dkt No. 2384.

                                                58
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       ANSWER:        Mr. Long lacks sufficient information to admit or deny the allegations in

this paragraph regarding the Russell heirs. Mr. Long further responds that this paragraph states

legal conclusions for which no response is required. To the extent a response is required, Mr. Long

denies those allegations in this paragraph. Mr. Long denies any remaining allegations in this

paragraph.

              FAILURE OF WYATT, LONG, AND ARGENT TO PROTECT THE ESOP

       141.    The ESOP fiduciaries from outside of the Russell family—Defendants Wyatt,

Long, and Argent—had an obligation to protect the ESOP but failed to exercise their duty.

       ANSWER:        Mr. Long denies the allegations in this paragraph.

       142.    The non-family Defendants were either beholden to the Russell heirs or conflicted

themselves. The family made clear through their 2015 settlement dividing Russelectric stockholder

power that they were in charge. Among other things, the settlement required Argent to terminate

its legal counsel and replace its employee assigned to Russelectric in order to keep the ESOP

trustee job. See supra ¶ 22. These threats were not motivated by concern for ESOP participants,

but rather the opposite: the Russell Defendants wanted to ensure that Argent would cater to their

wishes. Argent appears to have accepted these terms, and therefore bargained away its discretion

and independence.73

       ANSWER:        Mr. Long denies the allegations in this paragraph.

       143.    Defendant Long, installed on the board by Argent at the heirs’ behest, was subject

to the same control by the Russell heirs. If he opposed the Russell heirs, the heirs could threaten



73
   Maintaining independence is typically a challenge for ESOP trustees because the market for
fiduciary services to ESOPs is highly competitive, and trustees are hired, paid, and may be
removed by the ESOP’s counterparties. See Brundle v. Wilmington Tr., 241 F. Supp. 3d 610, 643
(E.D. Va. 2017), aff'd, 919 F.3d 763. This conflict was especially pronounced here given the
Russell heirs’ intervention in Argent’s choice of legal counsel and personnel.

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to terminate Argent lest Argent replace him on the board in the same way that the heirs had

threatened Argent before. Upon information and belief, Defendant Long received fees for acting

as a director and was loath to jeopardize his position or his relationship with Argent by opposing

the heirs.

        ANSWER:        Mr. Long denies the allegations in this paragraph.

        144.   Defendant Wyatt had duties of loyalty to her employer, Wells Fargo, and the RGR

Trust, the Russelectric stockholder to which Wells Fargo served as corporate trustee. These duties

were in conflict with her fiduciary duties to the ESOP. The RGR Trust had an adverse relationship

to the ESOP, as its beneficiaries, the Russell heirs, wanted to retire the ESOP’s unallocated shares

for less than fair value in order to obtain the true value of those shares for themselves. Wells Fargo

shared the RGR Trust’s adverse posture vis-à-vis the ESOP, as Wells Fargo would also benefit,

through its 1.75% fee, if the stock held by the RGR Trust increased in value at the ESOP’s expense.

        ANSWER:        Mr. Long lacks sufficient information to admit or deny this allegation,

which is not directed at Mr. Long.

        145.   When the Russell family decided to terminate the ESOP in 2016, the non-family

Defendants failed to intervene and obtain a good faith valuation of the fair market value of the

ESOP’s unallocated stock. Because the non-family Defendants obtained or maintained their

fiduciary positions as a result of the Russell family’s divorce and probate settlement, it is

reasonable to infer that each non-family fiduciary had knowledge of the issues in that litigation

and the significantly higher valuations proffered with respect to Russelectric stock.74 The non-

family Defendants (and Defendant John H. Russell in his capacity as a director) had a fiduciary

duty to inquire with respect to the competing claims and determine a fair price for the unallocated


74
   For its part, Argent was drawn into the litigation as a non-party and the subject of years of
discovery. Its agents were deposed multiple times.

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ESOP shares. They had a duty to oversee the trustee and ensure that they executed their duties in

compliance with ERISA. It also required them to ensure that an independent and thorough

valuation was performed. Yet the retention of Prairie Capital to perform the company valuation at

termination despite their historical lack of integrity, independence and competence demonstrates

that the board of directors and Argent failed in their duty to oversee and protect the ESOP. The

consideration provided for unallocated shares further suggests that the non-family Defendants

yielded to the Russell heirs and did not consider the competent evidence available that the

unallocated shares were worth far more than the price paid by the ESOP. The Russell heirs knew

that the ESOP fiduciaries did not perform their fiduciary duties with respect to unallocated shares,

as that was the result the heirs had long desired and maneuvered to achieve.

       ANSWER:         Mr. Long denies the allegations in this paragraph.

       146.    Notwithstanding the acrimonious history, Defendants had a fiduciary duty to

consider the change in the nature of the company’s ownership that resulted from the redemption

transaction. The shares redeemed constituted a minority stake to the ESOP but enlarged the heirs’

stake to 100%. In negotiating adequate consideration, fiduciaries must consider the value of the

shares to the party that benefits from the redemption transaction. See Montgomery, 39 F. Supp. 2d

at 938 (finding that a control premium should have been applied to the redemption price because

the “motive behind the transaction” was to retire the ESOP’s shares and enlarge the heir’s stake to

100%); Howard, 100 F.3d at 1489 (finding that the valuator errored by applying minority interest

discount to the redemption price when acquisition of the ESOP’s minority stake would give the

remaining shareholder a controlling interest). Any reliance on the ESOP’s acquisition price in

determining the redemption consideration for unallocated shares was therefore flawed. Yet

Defendants failed to consider the value of the redemption of unallocated shares to the Russell heirs



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in the same manner that they did for allocated shares (by providing a clawback).75 Again, the

Russell heirs knew that the redemption valuation process omitted this step, as omission of that step

was the specific result the heirs desired by terminating the ESOP.

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions for which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

                      DEFENDANTS’ ATTEMPT TO PROCURE ILLEGAL RELEASES

       147.    The company was controlled by the same director Defendants—Defendants John

H. Russell, Denise D. Wyatt, and Dennis J. Long—until the date of the Siemens sale. As the

Siemens closing approached in late 2018, the company demanded that participants execute a

general release in order to obtain compensation for their allocated shares.

       ANSWER:         Mr. Long admits John Russell, Dennis Long and Denise Wyatt served on

the Company’s board of directors from 2015 until the Siemens sale. Mr. Long further admits that

the former ESOP participants’ execution of a release was a condition of the sale to Siemens and

that the former ESOP participants received adequate consideration for those releases. Mr. Long

denies any remaining allegations in this paragraph.

       148.    The releases falsely claimed the share price to be paid by Siemens for Russelectric

in the upcoming sale was only $676 per share. In reality, Siemens had agreed to pay roughly $837

per share. The releases made no mention of the fact that the Russell Defendants and Defendants

Wyatt and Long had artificially reduced the share price by taking about $65 million of the sale

price for themselves and their enablers and reclassifying those amounts as “transaction expenses.”




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         ANSWERS: Mr. Long responds that this paragraph states legal conclusions for which

no response is required. To the extent a response is required, Mr. Long denies the allegations in

this paragraph.

         149.     These releases are void for lack of consideration. The right of participants to receive

the adjusted sale price with respect to allocated shares was established on November 30, 2016

when the board approved the clawback provision. There was no new consideration given or offered

to participants when the company demanded the releases years later.

         ANSWERS: Mr. Long responds that this paragraph states legal conclusions for which

no response is required. To the extent a response is required, Mr. Long denies the allegations in

this paragraph. Mr. Long denies any remaining allegations in this paragraph.

         150.     The releases also were not freely given. The company expressly conditioned

delivery of participants’ additional payments for their allocated shares on their execution of the

release. The company threatened participants that they would “forfeit” their right to receive the

sale price with respect to their allocated shares if they did not sign the release.

         ANSWERS: Mr. Long responds that this paragraph states legal conclusions for which

no response is required. To the extent a response is required, Mr. Long denies the allegations in

this paragraph. Mr. Long denies any remaining allegations in this paragraph.

         151.     Further, the releases were void under ERISA as contrary to the terms of the Plan,

which provided that participants’ accrued benefits (which included the right to a clawback

payment) became nonforfeitable upon termination of the Plan.76




76
     Plan Document § 16.3.

                                                    63
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       ANSWER:           Mr. Long responds that this paragraph states legal conclusions for which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

       152.       Defendants further placed a provision into the Siemens purchase agreement

requiring that 80% of ESOP participants execute the releases prior to the sale. To the extent any

ESOP participants declined to sign the release, the provision stated that the additional amounts due

to the non-signing participants for the sale of their allocated shares of the ESOP—amounts to

which those ESOP participants were entitled by law—would instead go to the Russell heirs. The

purchase agreement did not amend the Plan documents, and explicitly disclaimed any such intent.

       ANSWER:           Mr. Long responds that the Stock Purchase Agreement with Siemens, which

he was not involved in drafting, speaks for itself. Mr. Long denies any remaining allegations in

this paragraph.

       153.       Siemens had no appreciable potential liability related to the ESOP termination

transaction (as evidenced by the fact that it is not a defendant in this action). To the extent Siemens

had any concerns related to Russelectric’s redemption of the ESOP’s shares, parties to transactions

that involve an ESOP typically obtain representations, warranties, and indemnification from the

parties responsible for the ESOP. A provision requiring ESOP participants to waive their claims

against ESOP fiduciaries in such an agreement is highly unusual and benefited only the Russell

heirs. Similarly, there is no reason why Siemens would desire a provision purporting to give the

Russell heirs the right to seize funds belonging to the ESOP’s participants.

       ANSWER:           Mr. Long responds that this paragraph states legal conclusions and opinions

for which no response is required. To the extent a response is required, Mr. Long denies the

allegations in this paragraph. Mr. Long denies any remaining allegations in this paragraph.



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          154.    Given that this provision primarily (or solely) benefited the Russell heirs, it is

likely, if not virtually certain, that it was included at the behest of the Russell heirs, and that

Siemens would have proceeded with the sale in the absence of this provision.

          ANSWER:        Mr. Long responds that this paragraph states opinions for which no response

is required. To the extent a response is required, Mr. Long denies the allegations in this paragraph.

Mr. Long denies any remaining allegations in this paragraph.

          155.    On information and belief, one or more of Plaintiffs executed the release after the

80% threshold had been reached and the closing of the Siemens sale was a certainty.

          ANSWER:        Mr. Long lacks sufficient information to admit or deny the allegations in

this paragraph.

          DEFENDANTS’ IMPROPER DIVERSION OF THE PROCEEDS OF THE SIEMENS SALE TO THE
                                 RUSSELL DEFENDANTS

          156.    In September 2018, the Russell Defendants and Defendants Long and Wyatt, as

Russelectric’s Board of Directors and owners, reached an agreement to sell Russelectric to

Siemens. The preexisting “clawback” agreement between Russelectric and the ESOP, entered into

in March 2016, required Russelectric to pay Plan participants the difference between (1) the net

per share purchase price in any change of control transaction entered into before June 30, 2019

and (2) the $134 per share purchase price paid for ESOP members’ allocated shares at the ESOP’s

termination.77

          ANSWER:        Mr. Long admits John Russell, Dennis Long and Denise Wyatt served as on

the Company’s board of directors from 2015 until the Siemens sale. Mr. Long responds that the

terms of the Plan and other applicable documents, including the Redemption Agreement, speak



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for themselves. Mr. Long denies the allegations of this paragraph to the extent they are inconsistent

with the Plan, the Redemption Agreement, and other related documents. Mr. Long denies any

remaining allegations in this paragraph.

         157.   The ESOP’s contractual right to the difference between the price at which

Russelectric was sold in a change of control transaction and the redemption price paid to the ESOP

for allocated shares in 2016 gave the Plan a continuing interest in benefits. This contractual right

was an asset of the Plan under traditional notions of property rights.

         ANSWERS: Mr. Long responds that this paragraph states legal conclusions for which

no response is required. To the extent a response is required, Mr. Long denies the allegations in

this paragraph. Mr. Long denies any remaining allegations in this paragraph.

         158.   By 2018, Argent had ceased acting as trustee of the ESOP. Therefore, at the time

of the sale of Russelectric to Siemens, the Board of Directors was responsible for exercising the

company’s authority as Plan Administrator. This included the discretion to authorize the payment

of benefits and determine the amount payable to each participant.78 The Board of Directors further

exercised de facto control over the administration of the ESOP’s clawback provision. Defendants

Denise Wyatt, Dennis Long, and John Russell were the company’s three directors throughout the

Siemens sale process. These three Defendants acted as fiduciaries because, among other things, in

administering the Plan’s contractual right to payment, they exercised control over an asset of the

Plan. Moreover, determining the value of the Plan’s clawback provision and distributing funds to

participants constituted administration of the Plan.




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     Plan Document § 17.2.

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       ANSWERS: Mr. Long responds that this paragraph states legal conclusions for which

no response is required. To the extent a response is required, Mr. Long denies the allegations in

this paragraph. Mr. Long denies any remaining allegations in this paragraph.

       159.    The stock purchase agreement called for Siemens to purchase Russelectric’s stock

for $335.13 million. The price was adjusted upwards by $7.5 million for the company’s excess

cash on hand, then reduced by $5 million to account for outstanding liabilities. After taking these

adjustments into account, the net purchase price that Siemens paid for Russelectric’s equity was

$337,630,000. There appear to have been $1.5 million in bona fide transaction costs such as legal

fees necessary to consummate the deal, which a seller would traditionally pay. The net purchase

price paid to the Russelectric shareholders for the company after deducting these bona fide

transaction costs was therefore $336,130,000. Given there were 400,000 shares outstanding at the

time of Siemens sale, that translates to $840.33 per share.

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. Mr. Long further responds that the Stock Purchase Agreement with Siemens

speaks for itself. To the extent a response is necessary, Mr. Long denies the allegations in this

paragraph to the extent they are inconsistent with the Stock Purchase Agreement. Mr. Long denies

any remaining allegations in this paragraph.

       160.    But in calculating the net proceeds from the Siemens sale for purposes of the

clawback, Defendants John Russell, Denise Wyatt, and Dennis Long improperly deducted an

additional $65 million from the purchase price—beyond the $1.5 million in bona fide transaction

costs—for what they deemed “transaction fees.” They then calculated the amount owed to ESOP

participants under the clawback provision based on a purported net purchase price of just

$270,105,000, or $676 per share.



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       ANSWER:        Mr. Long denies the allegations in this paragraph.

       161.    The $65 million in deductions were not bona fide transaction expenses appropriate

for deduction from the “net purchase price.” Roughly $25 million of this amount comprised

“transaction bonuses” paid to members of the Russell family, even though the Russells were

already entitled to the proceeds from the stock sale. Nearly $3 million was paid as a bonus to

Defendant Long. Over $37 million of the remaining “transaction fees” were bonuses paid to six

Russelectric executives who enabled the diversion of ESOP assets into the Russells’ pockets.79

       ANSWER:        Mr. Long denies the allegations in this paragraph.

       162.    None of these expenses were contractual obligations in existence when the ESOP

agreed to the clawback provision, and none of these expenses were incurred to pay for services

necessary to close the transaction. In fact, all of these “transaction expenses” were approved by

the Board mere months before the Siemens sale closed, and after an agreement with Siemens had

been reached. Rather than bona fide transaction expenses, these amounts were bonuses that the

Russell Defendants—acting through the Board of Directors they controlled—elected to pay to

themselves and several executives out of the net sale proceeds due to them for their stock. These

amounts should not have been deducted from the net proceeds of the sale of Russelectric’s stock

for purposes of determining the amount due to the ESOP’s members under the clawback provision.

Indeed, the closing document referred to as the “Flow of Funds” calculates the “Net Purchase

Price” without deducting any of these expenses. It appears that the bonuses were categorized as

transaction expenses for the specific purpose of reducing the amount of money the company would

pay to ESOP participants and enlarging the payments to the Russell Defendants.

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  For the sake of clarity, the Russell Defendants were free to use their proceeds from the sale of
their Russelectric stock to pay bonuses to whomever they chose, but these discretionary bonuses
were not bona fide transaction expenses properly deducted from the payments due to the ESOP’s
members, whether paid to the Russell Defendants themselves or others.

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       ANSWER:        Mr. Long denies the allegations in this paragraph..

       163.    To put the excessiveness of these claimed transaction expenses into perspective,

typical transaction fees in a deal of this size are around $3 to $4 million. The transaction fees

imposed here were around twenty times higher.

       ANSWER:        Mr. Long denies the allegations in this paragraph.

       164.    By failing to act diligently and with care in administering the clawback provision

in the Siemens sale, Defendants John Russell, Denise Wyatt, and Dennis Long breached their

fiduciary duty of prudence. By administering the clawback provision in the interests of the

company’s owners and executives, and not exclusively in the interests of Plan participants, these

three Defendants also breached their fiduciary duty of loyalty. Finally, by including illegitimate

transaction fees when calculating the amount owed under the clawback provision, these three

Defendants breached their fiduciary duty to administer the Plan in accordance with Plan

documents.

       ANSWER:        Mr. Long responds that this paragraph states legal conclusions and

arguments to which no response is required. To the extent a response is necessary, Mr. Long

denies the allegations in this paragraph. Mr. Long denies any remaining allegations in this

paragraph.


       165.    In addition to acting in accordance with their fiduciary duties, the Board also had a

duty to interpret and administer the clawback provision consistent with the implied covenant of

good faith and fair dealing, which is an implied term of every contract, including ERISA plan

documents. Categorizing $65 million of the purchase price paid to Russelectric’s shareholders and

their enablers as “transaction expenses” was contrary to the intent of the parties in enacting the




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clawback provision and constituted bad faith and unfair dealing, and thus violated the clawback

provision.

       ANSWER:           Mr. Long responds that this paragraph states legal conclusions and

arguments to which no response is required. . To the extent a response is necessary, Mr. Long

denies the allegations in this paragraph. Mr. Long denies any remaining allegations in this

paragraph.

       166.    As a result of these three Defendants’ fiduciary breaches, ESOP participants were

paid, in aggregate, as much as $7 million less than they would have been had these Defendants

adhered to their fiduciary duties in administering the clawback provision.

       ANSWER:           Mr. Long responds that this paragraph states legal conclusions for which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

                          PLAINTIFFS’ LACK OF KNOWLEDGE OF THEIR CLAIMS

       167.    Plaintiffs did not have actual knowledge of all material facts needed to support their

claims until recently. Among other things, Plaintiffs did not know:

       (a)     that the ESOP owned any shares other than the shares allocated to employees;

       (b)     that the company redeemed such additional shares;

       (c)     that there was a note between the ESOP and the company related to the additional

               shares;

       (c)     that the company redeemed the additional shares by canceling the note;

       (d)     that the note required the additional shares to be redeemed at fair market value;

       (f)     that Raymond Russell’s heirs had evidence that the ESOP acquired the additional

               shares for less than fair market value;



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  (g)   that the note balance exchanged for the additional shares reflected the same

        below- market valuation that the Russell heirs disputed;

  (h)   that the note required any difference between the fair market value of the

        additional shares and the note balance to be allocated to employees as additional

        benefits;

  (i)   that redemption of the ESOP’s additional shares for less than fair market value

        benefited Raymond Russell’s heirs;

  (j)   that Raymond Russell’s heirs believed that the additional shares could be

        redeemed for less than fair market value;

  (k)   that the company’s board members were appointed under the terms of the Russell

        heirs’ settlement with Raymond Russell’s estate;

  (l)   that one of the board members was an employee of the corporate trustee of a trust

        that owned Russelectric stock on behalf of Raymond Russell’s heirs;

  (m)   that the heirs’ corporate trustee would receive a larger fee for selling the heirs’

        Russelectric stock if the company redeemed the ESOP’s additional shares for less

        than fair market value;

  (n)   that the company had an advisory board made up of Russell heirs;

  (o)   that Raymond Russell’s heirs had threatened removal of the ESOP’s outside

        trustee unless the trustee made changes to its personnel and legal counsel;

  (p)   that conflicts of interest caused the board members and the ESOP trustee to act in

        the interest of persons other than ESOP participants; and

  (q)   that the board members and ESOP trustee did not attempt to reconcile competing

        valuations or determine the fair market value of the additional shares prudently or



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               in good faith.

       ANSWER:         Mr. Long denies the allegations in this paragraph and its subparts.

       168.    Plaintiffs learned of Defendants’ violations of ERISA in 2022 based on legal

counsel’s investigation and review of court records and filings by the ESOP with the Department

of Labor. Plaintiffs did not read the ESOP’s filings with the Department of Labor when the ESOP

was active or thereafter.

       ANSWER:         Mr. Long lacks sufficient information to admit or deny this allegation.

       169.    Plaintiffs did not have actual knowledge of all material facts needed to plead their

claims added in the Second Amended Complaint related to the distribution of proceeds from the

Siemens sale until May 2024, when documents produced by Defendants John Russell, Denise

Wyatt, and Dennis Long between April 30th and May 29th of 2024 revealed the discrepancy

between the actual purchase price for Russelectric’s stock and the “net purchase price” used to

calculate the amounts payable to ESOP participants, the nature of the transaction expenses that

were deducted from the amount Siemens paid to the company, and the fact that the purported

transaction expenses were not repayments of corporate debts, a working capital adjustment, or

bona fide transaction expenses. Prior to receiving this information, Defendants had consistently

represented to Plaintiffs (and the Court) that Siemens paid about $270 million for Russelectric’s

equity, with a share price of $676 per share. Defendants filed the Stock Purchase Agreement with

the Court, but omitted the schedules and exhibits to the Agreement revealing that Siemens had in

fact paid $335.13 million for the company’s stock.

       ANSWER:         Mr. Long lacks sufficient information to admit or deny the allegations

pertaining to Plaintiffs knowledge. Mr. Long otherwise denies the allegations in this paragraph.

                                         PLAN-WIDE RELIEF



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       170.    29 U.S.C. § 1132(a)(2) authorizes any participant or beneficiary of the Plan to bring

an action individually on behalf of the Plan to obtain for the Plan the remedies provided by 29

U.S.C. § 1109(a). Plaintiffs seek recovery on behalf of the Plan pursuant to this statutory provision.

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions and

recitations to which no response is required. To the extent a response is required, Mr. Long denies

any allegations in this paragraph.

       171.    Plaintiffs seek recovery for injuries to the Plan sustained as a result of prohibited

transactions and fiduciary breaches during the statutory period and seek equitable relief on behalf

of the Plan as a whole.

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions and

recitations to which no response is required. To the extent a response is required, Mr. Long denies

any allegations in this paragraph.

       172.    Plaintiffs are adequate to bring this derivative action on behalf of the Plan, and their

interests are aligned with the Plan’s participants and beneficiaries. Plaintiffs do not have any

conflicts of interest with any participants or beneficiaries that would impair or impede their ability

to pursue this action. Plaintiffs have retained counsel experienced in ERISA litigation, and intend

to pursue this action vigorously on behalf of the Plan.

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions and

recitations to which no response is required. To the extent a response is required, Mr. Long denies

any allegations in this paragraph.

                                     CLASS ACTION ALLEGATIONS

       173.    Plaintiffs additionally and alternatively seek certification of this action as a class

action pursuant to Fed. R. Civ. P. 23.



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       ANSWER:         Mr. Long denies that this is an appropriate class action and denies any

remaining allegations in this paragraph.

       174.    Plaintiffs assert their claims on behalf of a class of participants and beneficiaries of

the Plan defined as follows:

       All participants and beneficiaries of the Russelectric Inc. Employee Stock

       Ownership Plan at the time it terminated who received a benefit from the ESOP.

       ANSWER:         Mr. Long denies that this is an appropriate class action and denies any

remaining allegations in this paragraph.

       175.    Numerosity: The Class is so numerous that joinder of all Class members is

impracticable. The Plan had 400 participants.

       ANSWER:         Mr. Long denies that this is an appropriate class action and denies any

remaining allegations in this paragraph. Mr. Long further responds that this paragraph states legal

conclusions for which no response is required.

       176.    Typicality:     Plaintiffs’ claims are typical of the Class members’ claims. Like

other Class members, Plaintiffs are Plan participants and suffered injuries as a result of

Defendants’ violations of ERISA. Defendants treated Plaintiffs consistently with other Class

members with regard to the Plan. Defendants’ improper actions affected all Plan participants

similarly.

       ANSWER: Mr. Long denies that this is an appropriate class action and denies any

remaining allegations in this paragraph. Mr. Long further responds that this paragraph states legal

conclusions for which no response is required.

       177.    Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class.

Plaintiffs’ interests are aligned with the Class that they seek to represent, and they have retained



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counsel experienced in complex class action litigation, including ERISA litigation. Plaintiffs do

not have any conflicts of interest with any Class members that would impair or impede their ability

to represent such Class members.

       ANSWER:         Mr. Long denies that this is an appropriate class action and denies any

remaining allegations in this paragraph. Mr. Long further responds that this paragraph states legal

conclusions for which no response is required.

       178.    Commonality: Common questions of law and fact exist as to all Class members and

predominate over any questions solely affecting individual Class members, including but not

limited to:

       a.      Whether Argent was a fiduciary with respect to the Plan;

       b.      Whether the director Defendants were fiduciaries with respect to the Plan;

       c.      Whether the ESOP’s fiduciaries failed to comply with the fiduciary standards of

               prudence and loyalty;

       d.      Whether the company was obligated to provide adequate consideration for the

               redemption of the ESOP’s unallocated shares;

       e.      Whether Defendants John Russell, Dennis Long, and Denise Wyatt shorted the

               amount due to the ESOP and its members under the clawback provision by

               deducting $65 million from the price Siemens paid for Russelectric.

       f.      Whether the company provided adequate consideration for the redemption of the

               ESOP’s unallocated shares;

       g.      Whether Russelectric, the Russelectric Stockholder Trusts, Wells Fargo, Defendant

               John H. Russell, Defendant Suzanne E. Russell, and Defendant Lisa J. Russell were

               parties in interest to the Plan;



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       h.      Whether the company’s redemption of the ESOP’s unallocated shares constituted

               a prohibited transaction;

       i.      Whether Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell,

               individually and as trustees on behalf of the Russelectric Stockholder Trusts and

               the Russelectric Stock Proceeds Trusts, knowingly benefited from one or more

               violations of ERISA;

       j.      Whether Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell,

               individually and as trustees on behalf of the Russelectric Stockholder Trusts and

               the Russelectric Stock Proceeds Trusts, can be compelled to provide relief to

               participants and the Plan;

       k.      The proper form of equitable and injunctive relief; and

       l.      The proper measure of monetary relief.

       ANSWER:        Mr. Long denies that this is an appropriate class action and denies any

remaining allegations in this paragraph and its subparts. Mr. Long further responds that this

paragraph states legal conclusions for which no response is required.

       179.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(1)(A) because

prosecuting separate actions against Defendants would create a risk of inconsistent or varying

adjudications with respect to individual Class members that would establish incompatible

standards of conduct for Defendants.

       ANSWER:        Mr. Long denies that class certification is appropriate. Mr. Long further

responds that this paragraph states legal conclusions for which no response is required. Mr. Long

denies any remaining allegations in this paragraph.




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       180.     Class certification is also appropriate under Fed. R. Civ. P. 23(b)(1)(B) because

adjudications with respect to individual Class members, as a practical matter, would be dispositive

of the interests of the other persons not parties to the individual adjudications or would

substantially impair or impede their ability to protect their interests. Any award of equitable relief

by the Court, such as disgorgement of proceeds of the prohibited transactions and allocation of the

proceeds to participants, would be dispositive of the interests of all participants.

       ANSWER:         Mr. Long denies that class certification is appropriate. Mr. Long further

responds that this paragraph states legal conclusions for which no response is required. Mr. Long

denies any remaining allegations in this paragraph.

       181.     Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3) because

questions of law and fact common to the Class predominate over any questions affecting only

individual Class members, and because a class action is superior to other available methods for the

fair and efficient adjudication of this litigation. Defendants’ conduct as described in this Complaint

applied uniformly to all members of the Class. Class members do not have an interest in pursuing

separate actions against Defendants, as the amount of each Class member’s individual claims is

relatively small compared to the expense and burden of prosecuting claims of this nature. Class

certification also will obviate the need for unduly duplicative litigation that might result in

inconsistent judgments concerning Defendants’ actions. Moreover, management of this action as

a class action will not present any likely difficulties. In the interests of justice and judicial

efficiency, it would be desirable to concentrate the litigation of all Class members’ claims in a

single forum.




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          ANSWER: Mr. Long denies that class certification is appropriate. Mr. Long further

responds that this paragraph states legal conclusions for which no response is required. Mr. Long

denies any remaining allegations in this paragraph.

          182.   Plaintiffs and their undersigned counsel will provide notice to the class to the extent

required by Fed. R. Civ. P. 23(c)(2) and the Court.

          ANSWER:        Mr. Long lacks sufficient information to admit or deny this allegation.

                                        COUNT I
        Causing a Prohibited Transaction between the Plan and Parties in Interest
                                  29 U.S.C. § 1106(a)
    Against Defendants John H. Russell, Denise D. Wyatt, Dennis J. Long, and Argent

          183.   Plaintiffs incorporate by reference the foregoing paragraphs as though fully stated

herein.

          ANSWER:        Mr. Long incorporates his responses to the paragraphs above as though

fully stated herein.

          184.   The redemption of the ESOP’s unallocated shares constituted a prohibited

transaction in violation of 29 U.S.C. § 1106(a)(1)(A),(D).

          ANSWER:       Mr. Long denies the allegations in this paragraph.

          185.   Defendants John H. Russell, Denise D. Wyatt, Dennis J. Long, and Argent caused

the prohibited transaction in their capacities as the ESOP fiduciaries responsible for approving the

consideration to be provided to the ESOP in exchange for the ESOP’s unallocated shares.

          ANSWER:       Mr. Long denies the allegations in this paragraph.

          186.   The circumstances around the redemption transaction show that the consideration

provided for the unallocated shares was inadequate and that, had the ESOP received adequate

consideration, Plaintiffs and other participants would have received additional allocations.

          ANSWER:       Mr. Long denies the allegations in this paragraph.


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          187.   ERISA, 29 U.S.C. § 1109(a), provides that any person that is a fiduciary with

respect to a plan and that breaches any of the responsibilities, obligations, or duties imposed on

fiduciaries by ERISA shall be personally liable to make good to the plan any losses to the plan

resulting from each such breach, and additionally is subject to such other equitable or remedial

relief as the court may deem appropriate.

          ANSWER:        Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

          188.   ERISA Section 1132(a) permits a plan participant to bring a suit for relief under

Section 1109 and to obtain appropriate equitable relief to enforce the provisions of ERISA.

          ANSWER:       Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

          189.   Defendants John H. Russell, Denise D. Wyatt, Dennis J. Long, and Argent caused

losses to the Plan resulting from the above-mentioned prohibited transactions and are liable to the

Plan for those losses in addition to appropriate equitable relief to be determined by the Court.

          ANSWER:       Mr. Long denies the allegations in this paragraph.

                                          COUNT II
                    Prohibited Transaction between the Plan and a Fiduciary
                                      29 U.S.C. § 1106(b)
                               Against Defendant John H. Russell

          190.   Plaintiffs incorporate by reference the foregoing paragraphs as though fully stated

herein.

          ANSWER:       Mr. Long incorporates his responses to the paragraphs above as though fully

stated herein.


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       191.    Defendant John H. Russell, in his fiduciary capacity, dealt with ESOP assets for his

own benefit in violation of 29 U.S.C. § 1106(b)(1) and received consideration from a transaction

involving the assets of the Plan in violation of 29 U.S.C. § 1106(b)(3) by approving the redemption

of unallocated shares for less than fair market value and receiving the proceeds directly and

indirectly through the Russelectric Stockholder Trusts and Russelectric Stock Proceeds Trusts.

       ANSWER:         The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

       192.    The circumstances around the redemption transaction show that the consideration

provided for the unallocated shares was inadequate and that, had the ESOP received adequate

consideration, Plaintiffs and other participants would have received additional allocations. ERISA,

29 U.S.C. § 1109(a), provides that any person that is a fiduciary with respect to a plan and that

breaches any of the responsibilities, obligations, or duties imposed on fiduciaries by ERISA shall

be personally liable to make good to the plan any losses to the plan resulting from each such breach,

and additionally is subject to such other equitable or remedial relief as the court may deem

appropriate.

       ANSWER:         The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

       193.    ERISA Section 1132(a) permits a plan participant to bring a suit for relief under

Section 1109 and to obtain appropriate equitable relief to enforce the provisions of ERISA.




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          ANSWER:       The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

          194.   Defendant John H. Russell caused losses to the Plan resulting from the above-

mentioned prohibited transaction and is liable to the Plan for those losses in addition to appropriate

equitable relief to be determined by the Court.

          ANSWER:        The allegations in this paragraph are not directed to Mr. Long, and thus

no answer from him is required. To the extent a response is required, Mr. Long denies the

allegations in this paragraph.

                                       COUNT III
                 Breach of the Fiduciary Duties of Prudence and Loyalty
                                  29 U.S.C. § 1104(a)(1)
     Against Defendants John H. Russell, Denise D. Wyatt, Dennis J. Long, and Argent

          195.   Plaintiffs incorporate by reference the foregoing paragraphs as though fully stated

herein.

          ANSWER:       Mr. Long incorporates his responses to the paragraphs above as though fully

stated herein.

          196.   Defendants John H. Russell, Denise D. Wyatt, Dennis J. Long, and Argent failed

to conduct a prudent investigation of the value of the ESOP’s unallocated stock in order to obtain

a fair and reasonable redemption price on behalf of ESOP participants. Defendants failed to act

solely in the interest of ESOP participants in the process of negotiating and approving the

redemption consideration to be paid for the ESOP’s unallocated shares. Instead, Defendant John

H. Russell used the fiduciary removal power wielded by himself and his family to control the non-

family fiduciaries and ensure that the redemption transaction benefited the Russell heirs and not




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the ESOP’s participants. Defendants therefore failed to comply with the fiduciary standard of care

and their duty of loyalty pursuant to 29 U.S.C. § 1104(a)(1).

       ANSWER:         Mr. Long denies the allegations in this paragraph.

       197.    Defendants John H. Russell, Denise D. Wyatt, and Dennis J. Long were responsible

for appointing Argent Trust, and retained the authority to remove Argent. This gave rise to a duty

to monitor Argent to ensure it performed its duties in accordance with ERISA. This included

ensuring that Argent conducted a thorough, independent valuation as part of the termination

process. It also required ensuring that Argent did not permit the unallocated shares to be bought

by Russelectric for less than fair market value.

       ANSWER:         Mr. Long denies the allegations in this paragraph.

       198.    The circumstances around the redemption of unallocated shares show that had the

fiduciaries conducted the process of valuing and redeeming the unallocated shares in a diligent

and careful manner solely in the interest of participants, they would have determined a fair market

valuation that was much higher than the $185 per share valuation applied, and would have included

the same clawback provision attached to the allocated shares. These Defendants’ lack of loyalty,

skill, and care is demonstrated by their differential treatment of allocated and unallocated shares

in termination negotiations, their retention of Prairie Capital despite having knowledge of their

demonstrable lack of independence, lack of integrity, and historical failure to abide by uniform

standards of professional appraisal practice. These Defendants also improperly failed to apply a

control premium even though it was necessary given that the termination was done to vest the

majority owners with sole control of Russelectric, and significantly enhanced the value of their

shares. Had Defendants performed their fiduciary duties in a prudent and loyal manner, Plaintiffs

and other participants would have received additional benefits.



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          ANSWER:       Mr. Long denies the allegations in this paragraph.

          199.   ERISA, 29 U.S.C. § 1109(a), provides that any person that is a fiduciary with

respect to a plan and that breaches any of the responsibilities, obligations, or duties imposed on

fiduciaries by ERISA shall be personally liable to make good to the plan any losses to the plan

resulting from each such breach, and additionally is subject to such other equitable or remedial

relief as the court may deem appropriate.

          ANSWER:       Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

          200.   ERISA Section 1132(a) permits a plan participant to bring a suit for relief under

Section 1109 and to obtain appropriate equitable relief to enforce the provisions of ERISA.

          ANSWER:       Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

          201.   Defendants John H. Russell, Denise D. Wyatt, Dennis J. Long, and Argent caused

losses to the Plan resulting from the above-mentioned breaches of the duties of prudence and

loyalty and are liable to the Plan for those losses in addition to appropriate equitable relief to be

determined by the Court.

          ANSWER:       Mr. Long denies the allegations in this paragraph.

                                      COUNT IV
                                 Co-Fiduciary Liability
                                  29 U.S.C. § 1105(a)
     Against Defendants John H. Russell, Denise D. Wyatt, Dennis J. Long, and Argent

          202.   Plaintiffs incorporate by reference the foregoing paragraphs as though fully stated

herein.


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       ANSWER:          Mr. Long incorporates his responses to the paragraphs above as though fully

stated herein.

       203.      Defendant John H. Russell, Denise D. Wyatt, and Dennis J. Long knew that Argent

failed to conduct a prudent, independent investigation of the value of the ESOP’s unallocated

shares. Yet, the director Defendants approved below-market consideration for the unallocated

shares anyway, notwithstanding the ESOP trustee’s failure to discharge its fiduciary duty. Indeed,

the director Defendants secured Argent’s breach through the looming threat of removal, and the

below-market redemption was exactly what Defendant John H. Russell selfishly wanted. The

director Defendants are therefore liable pursuant to 29 U.S.C. § 1105(a) for knowingly

participating in Argent’s breach, for enabling Argent’s breach through their disloyalty, and for

failing to remedy Argent’s breach.

       ANSWER:          Mr. Long denies the allegations in this paragraph.

       204.      Defendants Wyatt, Long, and Argent knew that Defendant John H. Russell would

receive a substantial economic benefit from a below-market redemption of the ESOP’s unallocated

shares. The non-family Defendants also knew that Defendant John H. Russell believed that the

unallocated shares could be redeemed for less than fair value. Yet, the non-family Defendants

allowed Defendant John H. Russell to steer the process for determining the ESOP’s redemption

consideration toward his own interest. The non-family Defendants failed to intervene to insist on

a fair valuation. The non-family Defendants are therefore liable pursuant to 29 U.S.C. § 1105(a)

for knowingly participating in Defendants John. H. Russell’s breach, for enabling Defendant John

H. Russell’s breach through their own imprudence, and for failing to remedy Defendant John H.

Russell’s violations.

       ANSWER:          Mr. Long denies the allegations in this paragraph.



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       205.    The circumstances around the redemption transaction show that the consideration

provided for the unallocated shares was inadequate and that, had the ESOP received adequate

consideration, Plaintiffs and other participants would have received additional allocations.

       ANSWER:         Mr. Long denies the allegations in this paragraph.

       206.    ERISA, 29 U.S.C. § 1109(a), provides that any person that is a fiduciary with

respect to a plan and that breaches any of the responsibilities, obligations, or duties imposed on

fiduciaries by ERISA shall be personally liable to make good to the plan any losses to the plan

resulting from each such breach, and additionally is subject to such other equitable or remedial

relief as the court may deem appropriate.

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

       207.    ERISA Section 1132(a) permits a plan participant to bring a suit for relief under

Section 1109 and to obtain appropriate equitable relief to enforce the provisions of ERISA.

       ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

       208.    Defendants John H. Russell, Denise D. Wyatt, Dennis J. Long, and Argent are

jointly liable for their failures as co-fiduciaries for losses to the Plan resulting from the above-

mentioned violations of ERISA and are liable to the Plan for those losses in addition to appropriate

equitable relief to be determined by the Court.

       ANSWER:         Mr. Long denies the allegations in this paragraph.




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                                          COUNT V
                      Knowing Participation in a Prohibited Transaction
                                    29 U.S.C. § 1132(a)(3)
          Against Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell,
            Individually and as Trustees of the Russelectric Stockholder Trusts and
                            the Russelectric Stock Proceeds Trusts

          209.   Plaintiffs incorporate by reference the foregoing paragraphs as though fully stated

herein.

          ANSWER:       Mr. Long incorporates his responses to the paragraphs above as though fully

stated herein.

          210.   Pursuant to 29 U.S.C. § 1132(a)(3), a participant may seek “appropriate equitable

relief [] to redress [ERISA] violations[.]” The Supreme Court has held that such “appropriate

equitable relief” includes recovering proceeds of a prohibited transaction from a knowing

participant in the transaction. See Harris Trust, 530 U.S. at 238.

          ANSWER:       The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

          211.   Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell, individually

and as trustees on behalf of the Russelectric Stockholder Trusts, knowingly benefited from the

company’s redemption of the ESOP’s unallocated Russelectric stock for less than fair value. The

heirs knew that redemption of unallocated shares was a transaction between the ESOP and the

company (and a transaction for the benefit of other parties in interest, including themselves) and

that the consideration for unallocated shares was less than fair value. The heirs benefited from the

redemption of unallocated shares because the value of their interests in Russelectric stock (as both

trustees and beneficiaries) increased without any obligation to account for that increase in value

through payments to the ESOP or ESOP participants.


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          ANSWER:       The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

          212.   Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell, individually

and as trustees on behalf of the Russelectric Stock Proceeds Trusts, also hold traceable proceeds

of the benefits received by themselves and the Russelectric Stockholder Trusts as a result of the

company’s redemption of the ESOP’s unallocated stock for less than fair value.

          ANSWER:       The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

          213.   Pursuant to principles of equity, as adopted and applied by federal courts in ERISA

cases, Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell, individually and as

trustees on behalf of the Russelectric Stockholder Trusts and the Russelectric Stock Proceeds

Trusts, are liable to the Plan for undue proceeds of the redemption of the ESOP’s unallocated stock

for less than fair value.

          ANSWER:       The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

                                               COUNT VI
               Knowing Participation in Breaches of the Duties of Prudence and Loyalty
                                     29 U.S.C. § 1132(a)(3)
              Against Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell,
           Individually and as Trustees of the Russelectric Stockholder Trusts and the
                                  Russelectric Stock Proceeds Trusts

          214.   Plaintiffs incorporate by reference the foregoing paragraphs as though fully stated

herein.


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       ANSWER:          Mr. Long incorporates his responses to the paragraphs above as though fully

stated herein.

       215.      Pursuant to 29 U.S.C. § 1132(a)(3), a participant may seek “appropriate equitable

relief [] to redress [ERISA] violations[.]” Such “appropriate equitable relief” includes recovering

proceeds of a fiduciary breach from a knowing participant in the breach. See Harris Trust, 530

U.S. at 238; In re Enron., 284 F. Supp. 2d at 571.

       ANSWER:          The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

       216.      Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell, individually

and as trustees on behalf of the Russelectric Stockholder Trusts, knowingly benefited from the

ESOP fiduciaries’ failures to act solely in the interest of ESOP participants and failures to

prudently investigate the fair market value of the ESOP’s unallocated shares. Indeed, the purpose

of the ESOP fiduciaries’ unlawful actions and omissions was to benefit the heirs, and the heirs

knew that the fiduciary process had been corrupted for their benefit. The value of the heirs’

interests in Russelectric stock (as both trustees and beneficiaries) increased without any obligation

to account for that increase in value through payments to the ESOP or ESOP participants.

       ANSWER:          The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

       217.      Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell, individually

and as trustees on behalf of the Russelectric Stock Proceeds Trusts, also hold traceable proceeds




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of the benefits received by themselves and the Russelectric Stockholder Trusts as a result of the

ESOP fiduciaries’ failures to discharge their duties.

          ANSWER:       The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

          218.   Pursuant to principles of equity, as adopted and applied by federal courts in ERISA

cases, Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell, individually and as

trustees on behalf of the Russelectric Stockholder Trusts and the Russelectric Stock Proceeds

Trusts, are liable to the Plan for undue proceeds received as a result of the ESOP fiduciaries’

disloyal and imprudent conduct.

          ANSWER:       The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the

allegations in this paragraph.

                                         COUNT VII
           Breach of Fiduciary Duties in Connection with Sale of Russelectric to Siemens 29
                                      U.S.C. § 1104(a)(1)
              Against Defendants John H. Russell, Denise D. Wyatt, and Dennis J. Long

          219.   Plaintiffs incorporate by reference the foregoing paragraphs as though fully stated

herein.

          ANSWER:       Mr. Long incorporates his responses to the paragraphs above as though fully

stated herein.

          220.   Defendants John Russell, Dennis Long, and Denise Wyatt were responsible for

administering the ESOP’s clawback provision, under which ESOP participants were entitled to the

difference between the net per share purchase price paid in the sale of Russelectric to Siemens and

the $134 per share price paid for their allocated shares in 2016. In this role, these Defendants were


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fiduciaries under ERISA as parties with discretionary authority and control related to

administration of the Plan, and based on their actual exercise of control and authority over the

clawback provision, which was an asset of the Plan.

       ANSWER:         Mr. Long denies the allegations in this paragraph.

       221.    Defendants John Russell, Dennis Long, and Denise Wyatt breached their fiduciary

duty of prudence by failing to exercise the requisite diligence and care in administering the

payment of proceeds from the clawback provision by diverting sale proceeds owed to the ESOP

and its members to the Russell Defendants, and by failing to ensure that ESOP participants were

properly compensated for their allocated shares. These defendants also violated their duty of

loyalty by failing to act exclusively in the interests of participants in determining the value of the

clawback provision and administering payments pursuant to that provision. These three

Defendants also breached their fiduciary duty to follow plan documents by pay participants the

actual net purchase price of the company. These all constitute violations of 29 U.S.C. § 1104(a)(1).

       ANSWER:          Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

       222.    ERISA, 29 U.S.C. § 1109(a), provides that any person that is a fiduciary with

respect to a plan and that breaches any of the responsibilities, obligations, or duties imposed on

fiduciaries by ERISA shall be personally liable to make good to the plan any losses to the plan

resulting from each such breach, and additionally is subject to such other equitable or remedial

relief as the Court may deem appropriate.




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          ANSWER:        Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

          223.   ERISA Section 1132(a) permits a plan participant to bring a suit for relief under

Section 1109 and to obtain appropriate equitable relief to enforce the provisions of ERISA. This

includes not only relief that would make the plan whole, but equitable relief including fiduciary

surcharge, disgorgement, and other such remedies.

          ANSWER:        Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

          224.   Defendants John H. Russell, Denise D. Wyatt, and Dennis J. Long caused losses

to the Plan, and to the Plan’s individual members, resulting from the above-mentioned breaches of

the duties of prudence and loyalty and the duty to abide by plan documents and are liable to the

Plan for those losses in addition to appropriate equitable relief to be determined by the Court.

          ANSWER:        Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

                                            COUNT VIII
             Causing a Prohibited Transaction between the Plan and Parties in Interest 29
                                   U.S.C. § 1106(a) and (b)
              Against Defendants John H. Russell, Denise D. Wyatt, and Dennis J. Long

          225.   Plaintiffs incorporate by reference the foregoing paragraphs as though fully stated

herein.

          ANSWER:       Mr. Long incorporates his responses to the paragraphs above as though fully

stated herein.


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        226.    As described above, in administering the clawback provision, Defendants John

Russell, Denise Wyatt, and Dennis Long acted as fiduciaries of the ESOP.

        ANSWER:         Mr. Long denies the allegations in this paragraph.

        227.    The clawback provision negotiated as part of the ESOP termination was a Plan

asset, as described above. By reducing the net purchase price by $65 million to diminish the

amount owed to ESOP participants, Defendants used the clawback provision to benefit themselves

and the rest of the Russell family, all of whom are parties in interest.

        ANSWER:         Mr. Long denies the allegations in this paragraph.

        228.    These Defendants therefore violated 29 U.S.C. § 1106(a)(1)(D) by causing the

plan to engage in a transaction that constituted a direct or indirect transfer to, or use by or for the

benefit of a party in interest an asset of the Plan.

        ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

        229.    John Russell further violated 29 U.S.C. § 1106(b)(1) and (b)(3) by dealing with

the assets of the plan in his own interest and receiving consideration for his own personal account

in connection with a transaction involving the assets of the plan.

        ANSWER:         Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

        230.    ERISA, 29 U.S.C. § 1109(a), provides that any person that is a fiduciary with

respect to a plan and that breaches any of the responsibilities, obligations, or duties imposed on

fiduciaries by ERISA shall be personally liable to make good to the plan any losses to the plan



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resulting from each such breach, and additionally is subject to such other equitable or remedial

relief as the Court may deem appropriate.

          ANSWER:        Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

          231.   ERISA Section 1132(a) permits a plan participant to bring a suit for relief under

Section 1109 and to obtain appropriate equitable relief to enforce the provisions of ERISA.

          ANSWER:        Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

          232.   Defendants John H. Russell, Denise D. Wyatt, and Dennis J. Long caused losses to

the Plan resulting from the above-mentioned prohibited transactions and are liable to the Plan for

those losses in addition to appropriate equitable relief to be determined by the Court.

          ANSWER:        Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

                                               COUNT IX
                             Failure to Pay Benefits Owed Pursuant to the
                             Clawback Provision 29 U.S.C. § 1132(a)(1)(B)
             Against Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell,
           individually and as trustees of the Russelectric Stockholder Trusts and the
                 Russelectric Stock Proceeds Trusts, Denise D. Wyatt, Dennis J. Long

          233.   Plaintiffs incorporate by reference the foregoing paragraphs as though fully stated

herein.

          ANSWER:       Mr. Long incorporates his responses to the paragraphs above as though fully

stated herein.


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       234.    ERISA Section 1132(a)(1)(B) allows participants to bring a cause of action to

recover benefits owed to them under the terms of a plan.

       ANSWER:        Mr. Long responds that this paragraph states legal conclusions to which no

response is required. To the extent a response is required, Mr. Long denies the allegations in this

paragraph. Mr. Long denies any remaining allegations in this paragraph.

       235.    Here, the Board of Directors administered the plan benefits at issue, but those

benefits were ultimately paid from the proceeds received by the company’s owners, which include

John H. Russell, Suzanne E. Russell, and Lisa J. Russell, individually and as trustees of the

Russelectric Stockholder Trusts and the Russelectric Stock Proceeds Trusts.

       ANSWER:        Mr. Long denies the allegations in this paragraph.

       236.    The clawback provision negotiated between the company and the Plan in 2016 as

part of the ESOP provision constituted terms of the Plan. Under that provision, for every allocated

share redeemed when the Plan was terminated, each participant was entitled to the difference

between the net per share purchase price in a change of control transaction and the $134 per share

paid in connection with the ESOP termination.

       ANSWER:         Mr. Long responds that the Redemption Agreement, which includes the

clawback provision speaks for itself. To the extent a response is necessary, Mr. Long denies the

allegations in this paragraph to the extent they are inconsistent with the Redemption Agreement.

Mr. Long denies any remaining allegations in this paragraph.

       237.    For each allocated share they owned, Plaintiffs were entitled to the difference

between the actual net purchase price of approximately $840 per share and the $134 redemption

price. Defendants John Russell, Denise Wyatt, and Dennis Long, acting as administrators of the




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Plan, instead caused the Plan to pay approximately $154 less per allocated share by inappropriately

deducting approximately $65 million in various bonus payments from the net purchase price.

          ANSWER:       Mr. Long denies the allegations in this paragraph.

          238.   The administrators of the Plan and the parties responsible for paying Plan benefits

under these circumstances are therefore liable for paying Plaintiffs, and the class they seek to

represent, the benefits to which they are entitled under the terms of the Plan.

          ANSWER:       Mr. Long denies the allegations in this paragraph.

                                               COUNT X
                Knowing Participation in a Prohibited Transaction and Breaches of the
                  Duties of Prudence and Loyalty Related to the Clawback Provision
                                     Under 29 U.S.C. § 1132(a)(3)
              Against Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell,
           Individually and as Trustees of the Russelectric Stockholder Trusts and the
                                  Russelectric Stock Proceeds Trusts

          239.   Plaintiffs incorporate by reference the foregoing paragraphs as though fully stated

herein.

          ANSWER:       Mr. Long incorporates his responses to the paragraphs above as though fully

stated herein.

          240.   Pursuant to 29 U.S.C. § 1132(a)(3), a participant may seek “appropriate equitable

relief [] to redress [ERISA] violations” from a knowing participant in those violations. See Harris

Trust, 530 U.S. at 238; In re Enron., 284 F. Supp. 2d at 571.

          ANSWER:       The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

          241.   Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell, individually

and as trustees on behalf of the Russelectric Stockholder Trusts, knowingly benefited from the

ESOP fiduciaries’ violations of ERISA in connection with the administration of the ESOP’s

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clawback provision discussed above. These individuals were directly involved in the actions

constituting these violations of ERISA. Each of these Defendants was required to approve these

actions as selling shareholders of Russelectric. And each of them received—directly or through a

beneficial interest—bonuses improperly characterized as “transaction expenses” to reduce the

amounts owed to ESOP participants.

       ANSWER:        The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

       242.    Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell, individually

and as trustees on behalf of the Russelectric Stock Proceeds Trusts, also hold traceable proceeds

of the benefits received by themselves and the Russelectric Stockholder Trusts as a result of the

ESOP fiduciaries’ violations of ERISA.

       ANSWER:        The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.

       243.    Pursuant to principles of equity, as adopted and applied by federal courts in ERISA

cases, Defendants John H. Russell, Suzanne E. Russell, and Lisa J. Russell, individually and as

trustees on behalf of the Russelectric Stockholder Trusts and the Russelectric Stock Proceeds

Trusts, are liable to the Plan for undue proceeds received as a result of the ESOP fiduciaries’

violations of ERISA described above.

       ANSWER:        The allegations in this paragraph are not directed to Mr. Long, and thus no

answer from him is required. To the extent a response is required, Mr. Long denies the allegations

in this paragraph.



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                              PRAYER FOR RELIEF

    Wherefore, Plaintiffs pray for judgment against Defendants and for the following relief:

   A.     Certify Plaintiffs’ authority to seek plan-wide relief on behalf of the
          Plan pursuant to 29 U.S.C. § 1132(a)(2);

   B.     Alternatively, certify this action as a class action pursuant to Fed. R. Civ. P.
          23, certify the named Plaintiffs as class representatives, and their counsel
          as class counsel;

   C.     Declare that the director Defendants and Argent caused the Plan to engage
          in a prohibited transaction in violation of 29 U.S.C. § 1106(a)(1)(A),(D);

   D.     Declare that Defendant John H. Russell engaged in a prohibited
          transaction in violation of 29 U.S.C. § 1106(b)(1),(3);

   E.     Declare that these prohibited transactions did not satisfy all requirements for
          any prohibited transaction exemption under ERISA;

   F.     Declare that Defendants John H. Russell, Suzanne E. Russell, and Lisa J.
          Russell, individually and as trustees on behalf of the Russelectric Stockholder
          Trusts, knowingly participated in the prohibited transactions in violation of
          ERISA;

   G.     Declare that the releases participants were required to sign in order to
          receive additional payments related to the sale of the company to Siemens
          are invalid;

   H.     Order the director Defendants and Argent to make good to the Plan, and/or
          any successor trust(s), losses resulting from violations of ERISA;

   I.     Order the Director Defendants and Defendants John. H. Russell, Suzanne E.
          Russell, and/or Lisa J. Russell, individually and as trustees of the Russelectric
          Stock Proceeds Trusts, to pay benefits owed to Plaintiffs and the class they
          seek to represent under the ESOP’s clawback provision.

   J.     Impose a constructive trust on, and an accounting of, all proceeds of the
          prohibited transaction and fiduciary breaches that are under the control of
          Defendants John H. Russell, Suzanne E. Russell, and/or Lisa J. Russell, whether
          held individually, in the Russelectric Stock Proceeds Trusts, or otherwise;

   K.     Order that Defendants provide other appropriate equitable relief to the Plan
          and its participants and beneficiaries;


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         L.      Approve a fair and equitable plan of allocation of any proceeds recovered
                 on behalf of the Plan such that the Plan and its participants will be made
                 whole;

         M.      Appoint an independent trustee of the ESOP to oversee the allocation of
                 proceeds recovered on behalf of the Plan consistent with the terms of the Plan
                 and ERISA;

         N.      Award Plaintiffs reasonable attorneys’ fees and costs of suit incurred
                 herein pursuant to 29 U.S.C. § 1132(g), and/or pursuant to the common
                 fund method;

         O.      Award prejudgment and post-judgment interest; and

         P.      Award such other and further relief as the Court deems just and equitable.


        ANSWER:          Mr. Long denies that Plaintiffs are entitled to any of the relief requested.

               DENNIS J. LONG’S AFFIRMATIVE AND OTHER DEFENSES

        In further answer to Plaintiffs’ Amended Complaint, Mr. Long hereby repeats, realleges,

and incorporates herein by reference his responses to Paragraphs 1 through 243, and alleges the

following affirmative and other defenses. In asserting these defenses, Mr. Long does not assume

the burden of proof as to matters that, pursuant to law, are Plaintiffs’ burden to prove. Without

waiving or excusing the burden of proof, Mr. Long asserts the following affirmative defenses:

                                          FIRST DEFENSE

        The Second Amended Complaint, in whole or in part, fails to state a claim upon which

relief can be granted.

                                        SECOND DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by Plaintiffs’ lack of standing to assert

such claims.

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                                        THIRD DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because the Court lacks subject matter

jurisdiction over such claims.

                                       FOURTH DEFENSE

       Plaintiffs’ claims against Mr. Long are barred, in whole or in part, by 29 U.S.C. § 1113,

other applicable statutes of limitations and statutes of repose, or by the doctrine of laches.

                                        FIFTH DEFENSE

       Plaintiffs’ claims in Count I and Count VIII against Mr. Long fail, in whole or in part,

because the transactions at issue are exempt under 29 U.S.C. § 1108 from the restrictions imposed

by 29 U.S.C. §§ 1106 and/or 1107.

                                        SIXTH DEFENSE

       Plaintiffs’ claims in Count IX against Mr. Long fail, in whole or in part, to the extent

Plaintiffs bring a claim derivatively on behalf of the plan because 29 U.S.C. § 11329(a)(1)(B)

limits participants to only seek relief on his or her own behalf.

                                      SEVENTH DEFENSE

       Plaintiffs’ claims against Mr. Long are barred, in whole or in part, because Plaintiffs have

waived and/or released any potential claims against him.

                                       EIGHTH DEFENSE

       Plaintiffs’ claims against Mr. Long are barred, in whole or in part, because Plaintiffs cannot

establish that Mr. Long undertook any act with subjective intent to benefit a party in interest.

                                        NINTH DEFENSE

       Plaintiffs’ claims against Mr. Long are barred, in whole or in part, because he was not an

ERISA fiduciary of the Plan, was not acting as a functional fiduciary of the Plan with respect to



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the 2016 ESOP Redemption or the implementation of the clawback provision, and did not

otherwise engage in fiduciary acts.

                                       TENTH DEFENSE

       Plaintiffs’ claims against Mr. Long are barred, in whole or in part, because his actions, to

the extent any are found to be those of an ERISA fiduciary (which is denied), were not undertaken

in a fiduciary capacity and/or were nonfiduciary business activities or settlor conduct not governed

by ERISA.

                                      ELEVENTH DEFENSE

       Plaintiffs’ claims against Mr. Long are barred, in whole or in part, because his actions, to

the extent any are found to be those of an ERISA fiduciary (which is denied), complied with the

requirements of ERISA as well as industry norms and standards.

                                      TWELFTH DEFENSE

       Plaintiffs’ claims in Count IV against Mr. Long fail, in whole or in part, because Plaintiffs

cannot establish an underlying breach of fiduciary duty.

                                   THIRTEENTH DEFENSE

       Plaintiffs’ claims in Count IV against Mr. Long fail, in whole or in part, because Plaintiffs

cannot establish that Mr. Long knowingly participated in, concealed, enabled, or failed to intercede

in any way to influence a breach of fiduciary duty by another fiduciary of the Plan.

                                  FOURTEENTH DEFENSE

       Plaintiffs’ claims in Count IV against Mr. Long fail, in whole or in part, because Plaintiffs

cannot establish that Mr. Long had knowledge of a breach by another fiduciary of the Plan.

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                                    FIFTEENTH DEFENSE

       Plaintiffs’ claims against Mr. Long are barred, in whole or in part, because Plaintiffs, the

Plan and its participants have not suffered any loss or injury and/or because of lack of loss

causation.

                                    SIXTEENTH DEFENSE

       Plaintiffs’ claims against Mr. Long are barred, in whole or in part, because adequate

consideration, at fair market value determined by an independent investigation, was paid for the

Plan’s allocated and unallocated shares.

                                  SEVENTEENTH DEFENSE

       Plaintiffs’ claims against Mr. Long are or may be barred, in whole or in part, by the

doctrines of waiver, laches, and/or estoppel.

                                   EIGHTEENTH DEFENSE

       Plaintiffs’ claims against Mr. Long are or may be barred, in whole or in part, because

Plaintiffs’ failed to exhaust their administrative remedies.

                                   NINETEENTH DEFENSE

       Plaintiffs’ claims against Long fail, in whole or in part, because Mr. Long and the

Russelectric Board reasonably relied on the guidance and oversight of qualified and experienced

professional consultants and advisors.

                                    TWENTIETH DEFENSE

       Plaintiffs’ claims against Mr. Long are or may be barred, in whole or in part, to the extent

they are based upon the implementation of the clawback provision, as the clawback provision was

not a plan asset and those actions are therefore not governed by ERISA.

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                                 TWENTY-FIRST DEFENSE

       Plaintiffs’ claims against Mr. Long are or may be barred, in whole or in part, to the extent

they are based upon actions that took place after the ESOP was terminated, because those actions

are not governed by ERISA where there was no longer an ERISA plan.

                               TWENTY-SECOND DEFENSE

       Plaintiffs’ claims against Mr. Long are or may be barred, in whole or in part, to the extent

they are based upon actions that took place after he resigned from the Russelectric Board in or

around February 2019.

                                TWENTY-THIRD DEFENSE

       Plaintiffs’ claims against Mr. Long are or may be barred, in whole or in part, because he

did not owe a duty to monitor the independent trustee of the ESOP, Argent Trust Company. To

the extent he owed a duty to monitor, he complied with such duty.

                               TWENTY-FOURTH DEFENSE

       Plaintiffs’ claims for benefits in Count IX against Mr. Long fail because Mr. Long is an

improper defendant and any alleged benefits, to the extent payable, would be payable by

Russelectric and/or its successors as plan sponsor and/or plan administrator, and not by Mr. Long

as individual.

                                TWENTY-FIFTH DEFENSE

       Plaintiffs’ claims for benefits in Count IX against Mr. Long fail, in whole or in part,

because Plaintiffs may not recover benefits from Mr. Long because he was not the plan

administrator.

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                                  TWENTY-SIXTH DEFENSE

       Plaintiffs’ claims for benefits in Count IX against Mr. Long fail, in whole or in part,

because, to the extent an ERISA plan under which benefits were payable existed at that time and

Mr. Long or the Russelectric board was an administrator of the Plan at that time (which is denied),

Mr. Long and the Russelectric Board discharged any duties in accordance with the documents and

instruments governing the plan and ERISA.

                    RESERVATION OF RIGHT TO AMEND ANSWER

       Mr. Long reserves the right to amend and/or add to his affirmative and further defenses

upon further investigation and discovery.

                                             PRAYER

       WHEREFORE, Defendant Dennis J. Long respectfully prays that the Court:

       1.      dismiss this action with prejudice;

       2.      deny all relief requested by Plaintiffs;

       3.      allow Defendant Long to recover costs and attorneys’ fees, to the

               extent allowed by law; and

       4.      grant such further relief as is just and proper.




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Dated: February 13, 2025           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing document, which was served in its

entirety on all counsel of record by the Court’s CM/ECF system.

Dated: February 13, 2025                      /s/ Asseret Frausto
                                              Asseret Frausto (BBO #714301)




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